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                     Nos. 22-2602 and 22-3083

   U.S. Court of Appeals for the Seventh Circuit
__________________________________________________________________

                          MARK A. PATTERSON,

                                      Plaintiff-Appellee,

                                      v.

                             HOWARD HOWE,

                                     Defendant-Appellant.

__________________________________________________________________

                         ON APPEAL FROM
             THE UNITED STATES DISTRICT COURT FOR THE
 SOUTHERN DISTRICT OF INDIANA IN CASE NO. 1:16-CV-03364-KMB-SEB
__________________________________________________________________

            APPELLANT’S CONSOLIDATED BRIEF
__________________________________________________________________

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                       DISCLOSURE STATEMENT

(1)   The full name of every party that the attorneys represent in the
      case (if the party is a Corporation, you must provide the corporate
      disclosure information required by Fed. R. App. P. 26.1 by
      completing item #3);

      Howard Howe

(2)   The names of all law firms whose partners or associates have
      appeared for the party in the case (including proceedings in the
      district court or before an administrative agency) or are expected to
      appear for the party in this Court:

      Ogletree, Deakins, Nash, Smoak & Stewart P.C.; Howard Howe

(3)   If the party or amicus is a corporation:

      i)     Identify all its parent corporations, if any; and

      N/A

      ii)    list any publicly held company that owns 10% or more of the
             party’s or amicus’ stock:

      N/A.

                                      s/Christopher C. Murray




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                     JURISDICTIONAL STATEMENT

     Plaintiff-Appellee Mark A. Patterson (“Patterson”) invoked the

district court’s jurisdiction under the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692, et seq. and 28 U.S.C. § 1331. Defendant-

Appellant Howard Howe (“Howe”) objects that there is no federal

jurisdiction under Article III of the United States Constitution because

Patterson lacks standing. Howe contends Patterson did not suffer an

injury-in-fact that is traceable to Howe’s conduct and redressable by a

favorable judicial decision and, therefore, there is no case or controversy.

See Casillas v. Madison Ave. Assocs., Inc., 926 F.3d 329, 333 (7th Cir.

2019).

     This Court has jurisdiction under 29 U.S.C. § 1291 because these

consolidated appeals are from the district court’s final judgment and its

final judgment on an award of attorney’s fees and costs.

     The district court entered its final judgment adjudicating all of the

claims with respect to all parties (except for the collateral issue of

Patterson’s request for an award of attorneys’ fees) on August 11, 2022,

and Howe filed his Notice of Appeal in No. 22-2602 on Monday,

September 12, 2022. On October 21, 2022, the district court issued its



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Order on Motion for Attorney Fees and Costs and entered its judgment

on that order. Howe filed his Notice of Appeal in No. 22-3083 from that

order on November 18, 2022.

                         ISSUES PRESENTED

      1.     Whether the service of requests to admit under Indiana Trial

Rule 36 with a summons and complaint without advising the receiving

party of the consequence of his or her failure to make a timely response

to the requests to admit constitutes a false, deceptive, or misleading

representation or means in connection with the collection of a debt, in

violation of 15 U.S.C. § 1692e, and an unfair or unconscionable means to

collect or attempt to collect a debt, in violation of 15 U.S.C. § 1692f,

irrespective of whether the requests to admit seek the admission of true

or false facts.

      2.    Whether a pro se defendant in a collections action who has

failed to respond to requests to admit that ask him or her to admit the

material allegations contained in the plaintiff’s collections complaint are

true has suffered an “injury in fact” for purposes of standing under Article

III of the U.S. Constitution, irrespective of whether the requests to admit

seek the admission of true or false facts.



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      3.     Whether the attorney’s fees awarded to plaintiff were

excessive.

                        STATEMENT OF THE CASE

I.    Factual Background

      A.     Patterson owed Indiana Tech for tuition.

      Patterson began attending Indiana Institute of Technology

(“Indiana Tech”) in 2012, where he started work towards a Bachelor of

Science degree in Communications. (Transcript of Deposition of Mark A.

Patterson, June 21, 2022 (“Dep.”) 18:22-25, 19:1-9 [Doc. 136-1]) (SA114-

115).) 1

      In 2012, Patterson signed a Payment Options Form in which he

agreed with Indiana Tech that he was “fully responsible for full payment

of all tuition” and that he would “not be permitted to register while [he

had] a past due balance.” (Dep. Ex. 4 [Doc. 136-5] at PDF page 3 (SA295).)

The Payment Options Form further provided:

      I understand that my account is my responsibility, regardless
      of whether or not I receive . . . other financial assistance, and
      I agree to follow Indiana Tech’s payment policies. . . . Due to
      lack of payment, the university may give my account to an
      outside agency to seek restitution. Furthermore, in the event

1 Material in the required appendix bound with this brief is cited as A__.

Material in the Separate Appendix is cited as SA__.

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      the university has to incur any expenses collecting this
      account, I agree to pay all the costs of collection. This includes,
      but is not limited to, collection agency fees, court costs, and/or
      any reasonable attorneys’ fees.

(Dep. Ex. 4 [Doc. 136-5] at PDF page 3 (SA295).)

      Patterson began taking classes at Indiana Tech while his financial

aid package was being processed. Patterson was informed he could

receive grants and loans but was required to submit certain financial

information from his parents for verification. (Dep. 27:21-28:5 (SA123-

124).) According to Patterson, “[f]or reasons that were just out of my

control, their accountant took forever to give the documents to me.” (Dep.

28:6-8 (SA124).)

      On April 23, 2012, Patterson was sent an email from Indiana Tech’s

financial aid office stating:

      You are receiving this letter because you have missing or
      incomplete documents that are required to complete your
      financial aid file. We have attempted to contact you numerous
      times, with no response. As such, this is your final notice.
      Missing or incomplete documents must be turned into
      the Financial Aid Office by Friday, April 27 at 5:00 pm
      or your financial aid will be cancelled.

(Dep. Ex. 1 [Doc. 136-2] (emphasis added) (SA287).)

      On June 15, 2012, Patterson forwarded missing financial

documents to Indiana Tech’s financial aid office. (Dep. Ex. 7 [Doc. 136-8]


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at PDF page 3 (SA305).) Patterson wrote, “I apologize for the extremely

extended delay” and “[p]lease let me know if you need anything further

from me at this point to reinstate my financial aid.” (Id.)

     Patterson was informed by Indiana Tech the financial aid for his

first semester was no longer available because he had turned in the

financial documents too late. (Dep. 28:8-11; 31:7-9 (SA124, 127).) Indiana

Tech’s financial aid office wrote to Patterson on June 18, 2021,

explaining, “unfortunately your loans have been cancelled because we

were unable to get the necessary ppwk in time to request the funds from

the Department of Education.” (Dep. Ex. 7 [Doc. 136-8] at PDF page 5

(SA307).)

     Patterson thus had an outstanding balance for his first semester’s

tuition. (Dep. 28:14-15 (SA124).)

     B.     Patterson intended to pay Indiana Tech but needed a
            payment plan he could afford.

     Patterson received student aid for his second semester at Indiana

Tech. (Dep. 23:6-7 (SA119).) His financial aid application was accepted,

and he received grants and loans. (Dep. 30:8-21 (SA126).)

     After Patterson did not receive financial aid for his first semester,

Patterson had discussions with a collections agency retained by Indiana

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Tech to attempt to resolve the outstanding balance for his first semester’s

tuition. (Dep. 35:10-23 (SA131).) Patterson hoped to work out a payment

plan with Indiana Tech but was only offered a plan that would have

required him to pay $400 or more per month, which he could not afford.

(Dep. 28:16-21 (SA124).)

     Patterson completed all of the class that he registered for at Indiana

Tech. (Dep. 23:4-5; 31:22-25 (SA119, 127).) Because Patterson had a

balance for his unpaid tuition from his first semester and could not afford

the payment plan offered to him by Indiana Tech, he did not continue

classes at Indiana Tech after his second semester. (Dep. 23: 4-9; 28:16-

29:1 (SA119, 124-125).) After Patterson ceased taking classes at Indiana

Tech in 2013, the school refused, due to the outstanding balance for his

first semester tuition, to release his transcript to him so that he could

transfer to continue his education at another university. (Dep. 32:3-11

(SA128).)

     Patterson believed his tuition for the first semester was around

$7,000.00. (Dep. 23:16-20 (SA119).) Between 2012 and 2014, Patterson

had multiple communications with Indiana Tech’s business office and

with a collections agency, Williams & Fudge, regarding his payment of


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his first semester’s tuition. (Dep. 41:3 – 43:8 (SA137-139) & Ex. 3 [Doc.

136-4] (SA291).) Patterson intended to pay off the amount he owed

Indiana Tech if he could get an agreement for a monthly payment amount

that he could afford. (Dep. 43:18-23 (SA139).)

     Patterson testified that he believed his account with Indiana Tech

was in collections by 2014. (Dep. 44:15-19 (SA140).) On October 25, 2014,

Patterson emailed an Indiana Tech employee and a representative of

Williams & Fudge stating the he was contacting them “to reach an

amicable resolution of my outstanding bill with Indiana Tech.” (Dep. Ex.

3 [Doc. 136-4] at 1 (SA291).) Patterson did not receive a response to his

October 25, 2014, proposal. (Dep. 45:23-24 (SA141).)

     By late 2014, the only payment plan options that had been offered

to Patterson to resolve his debt to Indiana Tech required monthly

payments he could not afford. (Dep. 44:24 – 45:6 (SA140-141).)

     On May 9, 2016, Patterson again emailed an Indiana Tech

employee “to resume discussion into me possibly settling my account.”

(Dep. Ex. 3 [Doc. 136-4] at 1 (SA291).) During his deposition, Patterson

could not recall what prompted him to send his email on May 9, 2016, but

he noted that during this time, he was “exhaust[ing] every possible idea


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to just be able to continue finishing this degree and not having this

balance hanging over my head.” (Dep. 48:16-23 (SA144).) Patterson

testified that at that time, “the ultimate goal was if I had to pay, hopefully

I could pay within a reasonable amount of my budget to where I could

just continue classes and finish my degree.” (Dep. 75:9-12 (SA171).)

     C.    Howe filed the Collections Case based on Patterson’s
           unpaid tuition.

     On May 10, 2016, Howe filed an action on behalf of Indiana Tech

against Patterson in Hamilton Circuit Court (the “Collections Case”).

(Dep. 51:11-52:2 (SA147-148) & Ex. 4 [Doc. 136-5] (SA293).) The debt

that Howe sought to collect from Patterson in the Collections Case was

solely for the unpaid tuition from Patterson’s first semester at Indiana

Tech. (Dep. 30:22-31:1 (SA126-127); 34:22 – 35:3 (SA130-131).)

     D.    Patterson drafted his Answer to the Complaint in the
           Collections Case denying that he was loaned money
           but without disputing that he owed Indiana Tech for
           his tuition.

     Patterson testified that when he came home one day, notice of the

Collections Case was attached to his door. (Dep. 57:8-20 (SA153).) In

addition to a summons, Patterson received at that time three pages: a one-

page complaint (“Collections Case Complaint”), a one-page with four



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requests to admit (the “Requests to Admit” or “RTAs”), and a copy of the

“Payment Options Form” that he had signed. (Dep. 58:2 – 59:2 (SA154-155).)

     Patterson read the documents included within the package served

on him. (Dep. 59:5-7 (SA155).) Patterson drafted an Answer (the

“Answer”) to the Collections Case Complaint by himself and faxed it to

the court for filing by the deadline stated in the summons. (Dep. 60:12 –

61:15 (SA156-157).)

     The first paragraph of the Collections Case Complaint alleged

“[t]hat the Defendant borrowed money as evidenced by the Exhibits

attached hereto.” (Dep. Ex. 4 [Doc. 136-5] at PDF page 1, ¶ 1 (SA293).) In

response, Patterson stated in his Answer: “Negligence of the Complaint

herein, Defendant lacks knowledge on all allegations. Defendant did not

borrow money from the university.” (Dep. Ex. 7 [Doc. 136-8] at PDF page

1, ¶ 1 (SA303).) During his deposition, Patterson explained that in

denying paragraph 1 of the Collections Case Complaint, “I think I was

trying to communicate that I did not borrow money from the university”

and that “I didn’t enter into a loan agreement with Indiana Tech.” (Dep.

62:7-16, 22-23 (SA158).) However, Patterson did not dispute that the

Payment Options Form attached to the Collections Case Complaint was


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“a valid agreement.” (Dep. 68:15-17 (SA164).) Patterson also attached

emails to his Answer showing that Indiana Tech had in fact informed him

that his financial aid application had been cancelled because his

paperwork was late. (Dep. Ex. 7 [Doc. 136-8] at PDF page 5 (SA307).)

     The second paragraph of the Collections Case Complaint alleged

“[t]hat the Defendant has failed to repay the money borrowed in

conformity with the underlying exhibits.” (Dep. Ex. 4 [Doc. 136-5] at PDF

page 1, ¶ 2 (SA293).) In his Answer, Patterson responded: “Negligence of

the Complaint herein, Defendant denies all allegations. On or about April

27 2012, Plaintiff notified Defendant to complete financial aid

verification worksheet. Deadline for submission of said documents was

not communicated to Defendant. Upon submission, Plaintiff notified

defendant of returned aid.” (Dep. Ex. 7 [Doc. 136-8] at PDF page 1, ¶ 2

(SA303).)

     In explaining during his deposition what this denial meant,

Patterson testified that he did not deny that he owed Indiana Tech money

under the Payment Options Form attached to the Complaint:

     Q.     Did you deny that you had failed to repay any of the
            money that Indiana Tech alleged was owed under the
            Payment Options Form?


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     A.    No, I did not deny.

(Dep. 69:24 – 70:2 (SA165-166).)

     The third paragraph of the Collections Case Complaint alleged

“[t]hat Plaintiff is the owner or assignee of the indebtedness evidenced

by the underlying exhibits.” (Dep. Ex. 4 [Doc. 136-5] at PDF page 1, ¶ 3

(SA293).) In his Answer, Patterson responded: “Negligence of the

Complaint herein, Defendant lacks knowledge on all allegations.

Defendant has not been given proof that Plaintiff is the owner or assignee

of the indebtedness evidenced by underlying exhibits.” (Dep. Ex. 7 [Doc.

136-8] at PDF page 1, ¶ 4 (SA303).) In explaining what this denial meant,

Patterson testified he had not previously heard of Howard Howe but had

instead seen information about Williams & Fudge representing Indiana

Tech. (Dep. 70:18 – 71:4 (SA166-167).)

     The fourth paragraph of the Collections Case Complaint alleged

“[t]hat Plaintiff is entitled to recover from the Defendant in default those

monies allowed in conformity with the underlying exhibits, including but

not limited to interest and the costs of collection.” (Dep. Ex. 4 [Doc. 136-

5] at PDF page 1, ¶ 4 (SA293).) In his Answer, Patterson responded:

“Negligence of the Complaint herein, Defendant denies Plaintiff is



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entitle[d] to recover monies from defendant.” (Dep. Ex. 7 [Doc. 136-8] at

PDF page 1, ¶ 4 (SA303).) In his deposition, Patterson explained that he

denied this allegation because he believed that Indiana Tech had received

financial aid funds for him from the Department of Education but then

returned those funds to the Department of Education. (Dep. 72:7-13

(SA168).)

     E.     Patterson did not undertake any actions to defend the
            Collections Case but agreed to go to mediation.

     After filing his Answer, Patterson did not serve any discovery or

attempt to defend the Collections Case. (Dep. 79:9-12 (SA175).) Patterson

never retained an attorney to assist him in defending the Collections

Case. (Dep. 80:3-6 (SA176).)

     After Patterson’s Answer was filed, the Hamilton Circuit Court

conducted a pretrial conference by telephone on August 8, 2016. (Dep.

79:20-24; 80:3-12 (SA175-176).) The Hamilton Circuit Court encouraged

the parties to go to mediation and suggested to Patterson that he might

want the assistance of counsel in the event the case went to trial. (Dep.

80:14 – 81:3 (SA176-177).)




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     F.     Patterson learned from Duff that the Requests to
            Admit were deemed admitted and believed there was
            nothing he could do to “undo” them.

     Following the Hamilton Circuit Court’s suggestion, Patterson

searched for attorneys online and came upon Robert Duff (“Duff” or

“FDCPA Counsel”), whom Patterson emailed. (Dep. 83:17-21 (SA179).)

Patterson spoke with Duff in or about December of 2016. (Dep. 101:20-23

(SA197).)

     Patterson first learned from Duff in or around December of 2016

that Requests to Admit had been served on him with the Collections Case

Complaint in May of 2016 and that they were deemed admitted because

he had not responded to them. (Dep. 97:10 – 98:2 (SA193-194).)

According to Patterson, “with having to eventually reach out to ask for

counsel, I learned a lot more about this particular – these particular

issues or the correspondence that I received from Mr. Howe. And it

seemed like it was way beyond – the train had definitely left the station

and there wasn’t anything that could be done, but I definitely learned of

that once I reach[ed] out to Mr. Duff.” (Id.)




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     After talking with Duff, Patterson believed he could not “undo” the

deemed-admitted Requests to Admit. Patterson testified that after

speaking with Duff:

     [E]ssentially I was operating under the understanding that I
     didn’t have the option to undo, especially once we had gone
     through the pretrial conference and everything was set. It’s
     like I can't – this train has left the station, I can’t undo it.

(Dep. 101:2-7 (SA197).)

     G.     Howe never attempted to use the Requests to Admit,
            and Patterson never attempted to withdraw his
            deemed admissions.

     Patterson admitted that Howe never filed anything with the

Hamilton Circuit Court asking that the Requests to Admit be deemed

admitted. (Dep. 98:23 – 99:10 (SA194-195).) Patterson also never filed

anything with the Hamilton Circuit Court asking the court to withdraw

his deemed admissions to the Request to Admit. (Dep. 99:11-15 (SA195).)

Asked during his deposition if he ever considered moving the court to

withdraw his deemed admissions to the Requests to Admit, Patterson

testified: “I didn't know that that was an option, to be honest.” (Dep.

99:16-18 (SA195).) Patterson also never asked Howe if he would agree

not to treat the Requests to Admit as deemed admitted. (Dep. 130:4-18

(SA226).)


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     H.    Patterson, represented by Duff, sued Howe over the
           Requests to Admit.

     By December 14, 2016, Patterson had retained Duff to represent

him in this FDCPA lawsuit (the “FDCPA Class Action”) against Howe.

(Dep. 119:18-20 (SA215).) On December 14, 2016, Patterson, represented

by Duff, filed his complaint initiating this FDCPA Class Action against

Howe. (Dep. 118:22 – 119:10 (SA214-215).)

     It was sometime between August 8, 2016, the date of the scheduling

conference in Hamilton Circuit Court, and December 14, 2016, the date

when Patterson sued Howe in the FDCPA Class Action, that Patterson

first learned from Duff that the Requests to Admit were deemed

admitted. (Dep. 119:21 – 120:5 (SA215-216).) In his FDCPA Class Action

complaint, Patterson alleged that “[t]he ‘Requests to Admit document

[that Howe served on him] [did] not advise the defendant that the

requests are admitted unless the defendant serves a written answer or

objection to the requests upon the plaintiff within thirty days.” (Dep.

120:11 – 121:1 (SA216-217) & [Doc. 136-9] Ex. 8 (SA310).)

     The FDCPA Class Action complaint that Patterson and Duff filed

on December 14, 2016, did not allege that Patterson suffered any injury

as a result of Howe’s service of the Requests to Admit on Patterson. (Dep.

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Ex. 8 [Doc. 136-9] (SA310).) In his FDCPA Class Action complaint,

Patterson did not seek any actual damages based on Howe’s service of

the Requests to Admit on Patterson. (Dep. Ex. 8 [Doc. 136-9 ¶¶ 1-21]

(SA310-312).) Instead, Patterson sought only an award of “statutory

damages” along with “costs, attorney fees and all other appropriate

relief.” (Id. ¶ 14; see also id. at p. 3 ¶ D (SA311-312 ).)

      When Patterson sued Howe in the FDCPA Class Action, Howe’s

Collections Case against Patterson was still pending in the Hamilton

Circuit Court. (Dep. 122:1-6 (SA218).) Patterson thus had access to legal

counsel during a significant portion of the time that the Collections Case

was pending against him. Specifically, Patterson was represented by

Duff from at least December 14, 2016, through the final judgment in the

Collections Case in April 2017. (Dep. 123:14 – 124:17 (SA219-220).)

      During his deposition, Patterson refused to answer the question

whether Duff ever told him to consider withdrawing the deemed

admissions to the Requests to Admit in the Collections Case, claiming

attorney-client privilege. (Dep. 124:18 – 124:4 (SA220).) Asked if he

would have moved to withdraw the deemed admissions to the Requests

to Admit, if he had known that he could do so, Patterson testified that


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the question called for “speculation” and “I don’t know what I would have

done other than what I did.” (Dep. 139:18 – 140:1 (SA235-236).)

     I.    Through mediation, Patterson pro se obtained the most
           favorable monthly payment plan that had been offered
           to him and obtained access to his Indiana Tech
           transcripts.

     Patterson testified that even after the August 8, 2016, scheduling

conference with the Hamilton Circuit Court, he did not retain Duff to

represent him in the Collections Case because Patterson believed he did

not need an attorney at that time. In particular, Patterson testified that

he did not need the assistance of counsel to select a mediator. (Dep. 83:18-

22 (SA179).) In addition, Patterson testified that he felt he did not need

counsel for the mediation itself. He testified:

     There was an outstanding balance. It had gone to collections.
     Mr. Howe was collecting on it. And in terms of mediation, the
     only thing that would have been able to come out of that is
     would I be able to get access to my transcript somehow and
     most likely I was going to have to provide some type of
     payment to do so. And I was just hoping that I was going to
     be able to get it to an amount that I could afford.

     And it seemed like I wasn't going to need counsel specifically
     for this particular case because at the time we were going
     through mediation and it seemed like once we would go
     through mediation, we wouldn't have to go to court.

(Dep. 84:16 – 85:12 (SA180-181).)



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     Mediation in the Collections Case occurred on April 13, 2017. (Dep.

87:2-14 (SA183).) At the conclusion of the mediation, the parties entered

into a settlement agreement under which Patterson agreed to entry of

judgment against him for $7,500.00 plus $181.00 in court costs. (Dep.

132:4-5 (SA228) & Ex. 9 [Doc. 136-10] ¶ 1 (SA313).) The settlement

agreement provided that Patterson would make monthly payments of

$150.00 and that Indiana Tech would release Patterson’s transcripts.

(Dep. Ex. 9 [Doc. 136-10] ¶¶ 2-3 (SA313).)

     Following the mediation, final judgment was entered against

Patterson for $7,500.00. (Dep. 55:21-24 (SA151).) As part of his

settlement with Howe, Patterson received his transcript from Indiana

Tech, which allowed him to transfer to Indiana University and finish his

undergraduate degree at Indiana University. (Dep. 15:5-7; 33:2-10

(SA111, 129).) The Indiana Tech transcript shows that Patterson

received credit from Indiana Tech for all of the courses he took; those

credits, including those for Patterson’s first semester at Indiana Tech,

transferred to Indiana University. (Dep. 33:16 – 34:1 (SA129-130).)




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     J.    Patterson did not incur any attorneys’ fees or out-of-
           pocket expenses in litigating the Collections Case.

     Patterson did not incur any attorneys’ fees in the Collections Case.

(Dep. 88:16-19 (SA184).) He also did not incur any out-of-pocket expenses

in the Collections Case. (Dep. 88:24-25; 89:13-14; 91:4-7; 92:19 (SA184-

185, 187-188).)

     K.    Patterson was unable to identify any defenses to the
           Collections Case that he allegedly lost due to the
           deemed-admitted Requests to Admit.

     On September 27, 2017, in the midst of summary judgment briefing

in this case, Patterson filed an affidavit in which he averred that the

Requests to Admit “essentially asked me to admit the case against me

and admit that I had no defenses” and that “I did have defenses to the

claim and it did not want to admit . . .         all the allegations of the

complaint.” (Dep. 136:7 – 137:2 (SA232-233) & Ex. 10 [Doc. 136-11] ¶¶ 6

& 7 (SA315).)

     In his subsequent deposition nearly four years later on June 21,

2021, Patterson was asked “what were the defenses to the claim that you

referenced there in paragraph 7 [of your Affidavit] that you believe you

had to the claim alleged against you in the collection action?” (Dep. 137:6-

9 (SA233).) Patterson testified:


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     I might have to refer you back to Mr. Duff on that exactly. I
     would have to look, but I don't want to misspeak in terms of
     the actual language that needs to be – that's represented in
     this particular case.

(Dep. 137:10-14 (SA233).)

     Patterson added, “because this [Affidavit filed in opposition to

summary judgment] was filed on my behalf by my attorney, I would

rather him speak to the legal ramifications of your question rather than

me misspeaking.” (Dep. 138:8-11 (SA234).) Patterson was thus unable to

identify with any specificity any defenses to the Collections Case

Complaint that, as of May and June 2016, he believed he possessed. He

was thus also unable to identify any specific defenses to the Collections

Case Complaint that were allegedly foreclosed by his failure to respond

to the Requests to Admit. (Dep. 137:10-14, 137:17-24, 138:8-11 (SA233-

234).)

     L.       Patterson was unable to say that he would have denied
              the Requests to Admit if he had responded to them.

     During his deposition, Patterson was shown a copy of the Requests

to Admit. (Dep. 140:2-10 & (SA236) Ex. 11 [Doc. 136-12] (SA318).) The

first of the four requests to admit asked Patterson to admit that “[n]o

defendant in this cause is an infant or incompetent." Patterson was asked

during his deposition, “If you had responded within 30 days, would you

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have admitted that?” (Dep. 140: 11-14 & (SA236) Ex. 11 [Doc. 136-12]

(SA318).) Patterson responded that “I would probably just go ahead and

defer that back to my attorney.” (Dep. 140:20-21 (SA236).)

     Patterson was reminded that in May and June of 2016 when the

Requests to Admit were served on him, he was not represented by Duff

or other counsel. Therefore, the question was would he have admitted

Request to Admit Number 1 based on the knowledge he had at that time.

(Dep. 140:22 – 141:4 (SA236-237).) Patterson answered:

     I think it's really hard to speculate considering that if I could
     have had a different outcome or if I knew more at the time, I
     probably would have done differently, but I did not. So it's
     hard to speculate on what I would have done.

(Dep. 141:7-11 (SA237).)

     Patterson was asked if his answer would be the same if he was

asked whether he would have admitted or denied Requests to Admit

numbers 2, 3, and 4 if he had responded to the Requests to Admit within

30 days after they were served. (Dep. 141:14-17 (SA237).) In response,

Patterson testified:

      Based on my understanding of the question, essentially
      you're asking me to kind of assume that I knew or didn't
      know certain facts at the time and if I would have responded
      differently. And, again, I think it's hard for me to say what I
      would have written in this particular answer, number one,
      because just to, again, kind of restate how I even got to the

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      point of even writing the answer to begin with, I found myself
      on Google just trying to respond to something.

      I really did not – I should have – if there's one thing that I
      would have done differently, I would have just tried to do my
      best to find some type of help or an attorney at the time, but
      I think that's the only thing that I probably would feel safe to
      say that I would have done.

      But to say exactly how I would have answered or how I would
      have responded to either of those paragraphs, I think it's
      unclear.

(Dep. 141:20 – 142:12 (SA237-238).)

     M.    Patterson claimed that he believed he lacked leverage
           in the mediation based on what Duff told him and not
           based on anything Howe did with the deemed-
           admissions.

     Patterson also testified that he believed that he lacked leverage in

the mediation in the Collections Case in April of 2017 due to the deemed-

admitted Requests to Admit. (Dep. 100:5-8 (SA196).) Patterson claimed

that “by the time I reached the point that we were at mediation there was

no opportunity for me to be able to maneuver and try to undo what was

done.” (Dep. 100:13-17 (SA196).) Asked “how, if at all, did Mr. Howe ever

use these deemed admissions to the requests to admit in the collection

action,” Patterson testified:

           [T]he only way I feel like I can describe it is while there
           might not have been a direct use, I would almost, like –
           just join in the theater of my mind here. Imagine if


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           you're being robbed and someone has a weapon, but they
           don't use it. The presence of that weapon immediately
           disarms you and limits your options of response to
           particular action.

           And so while there may not have been a direct thing that
           I can point to to say, Well, because things were
           admitted, this was what happened, but I will say that
           because these were admitted, it's like my leverage was
           gone. Like I wasn't able to adequately defend myself and
           ultimately have to settle. I mean, it wasn't even like –
           the word "settlement," I would use that word loosely. I
           mean, it wasn't like there was any concessions that they
           made on their end, especially even financially.

(Dep. 105:12 – 106:9 (emphasis added) (SA201-202).)

     Asked what leverage he believes he would have had to win

concessions at the mediation had the Requests to Admit not been deemed

admitted, Patterson testified:

           Well, if the request to admit wasn't there, technically
           that was the whole purpose of the initial correspondence
           that I received; right? So technically, we wouldn't have
           even had a case, right, if I understand correctly. You
           might have to help me there.

(Dep. 106:11-21 (SA202).) Asked to clarify if it was Patterson’s belief that

if the Requests to Admit had not been served with the Complaint, there

would have been no Collections Case lawsuit, Patterson testified:

           It would be my understanding that if the request to
           admit wasn't included in this particular lawsuit, while
           there might have been some communication -- obviously
           this communication that's been ongoing since 2012 -- I

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           would not have put myself in a position to where a
           looming court date in my future would make me feel like
           I would need to go ahead and settle, and settle for
           whatever I could settle for just to make sure that I could
           move on and get this situation taken care of.

(Dep. 106:24 – 107:13 (SA202-203).)

      Patterson testified that the he did not know whether Howe’s

lawsuit could have been filed against him without attaching any

Requests to Admit to the complaint. (Dep. 111:23 – 112:2 (SA207-208).)

Patterson admitted that Howe never told Patterson that Patterson had

no leverage because the Requests to Admit were deemed admitted. (Dep.

115:21-25 (SA211).) Rather, Patterson’s belief that he had no leverage in

mediation came through Patterson’s discussions with Duff and from the

mediator, who told Patterson at the outset of the mediation that he was

not going to be happy at the end of the mediation because that “is just

how mediation goes.” (Dep. 116:1-16 (SA212).)

II.   Procedural Background

      A.   The Collections Case

      As noted above, Howe filed the Collections Case on May 10, 2016.

When he served the complaint and summons, Howe also served on

Patterson a set of Requests to Admit. (SA5-SA7.) The Requests to Admit

informed Patterson they were propounded “pursuant to Rule 36 of the

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Indiana Rules of Procedure” and requested Patterson’s responses “no

later than thirty (30) days following the date of service[.]” (SA6.) The

Requests to Admit asked Patterson to admit:

      1.   No defendant in this cause is an infant or incompetent.

      2.   No defendant in this cause is on active service in any
           branch of the military forces of the United States of
           America.

      3.   The material allegations contained in the Plaintiff’s
           complaint are true, and Plaintiff is entitled to the relief
           sought as a matter of law.

      4.   There exists no valid counterclaim or offset to the
           claim(s) of the Plaintiff.

Id.

      On June 3, 2016, Patterson filed an Answer to the Complaint in the

Underlying Lawsuit. (SA303.) Patterson did not answer the Requests to

Admit. See Affidavit of Mark A. Patterson [Doc. 31-1] ¶ 10 (SA57).

      As noted above, on April 13, 2017, Howe and Patterson mediated

the Collections Case. (SA299.) On April 17, 2017, the parties entered into

an Agreement of Settlement under which Patterson agreed to entry of

final judgment against him for $7,500, plus costs. (SA313.) The case was

dismissed on April 21, 2017, by agreed judgment. (SA300.)




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     B.    Patterson’s FDCPA complaint in this case and failure
           to allege any injury

     On December 14, 2016, Patterson, while the Collections Case was

still pending, filed his Class Action Complaint against Howe in this case

alleging violations of the FDCPA. See Doc. 1 (SA1). Patterson alleged

that Howe, in serving Requests to Admit without advising him they were

admitted unless he served a written answer or objection within thirty

days, used a false, deceptive, or misleading representation or means in

connection with the collection of a debt, in violation of 15 U.S.C. § 1692e,

and an unfair or unconscionable means to collect or attempt to collect a

debt, in violation of 15 U.S.C. § 1692f. Id. at ¶ 13 (SA2). Patterson

purported to pursue his claims as a class action. Id. at ¶ 15 (SA2).

     Patterson’s Complaint did not make any allegation that he had

suffered any injury as a result of Howe’s conduct, nor did he allege or

seek any actual damages. Id. at ¶¶ 1–21 (SA2-3).

     On February 7, 2017, Howe filed his Answer, which asserted the

federal courts lack jurisdiction because there is no “‘case or controversy’

as required by Article III of the Constitution.” Doc. 9 at ¶ 1 (SA8).




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     C.    The parties’ stipulation for and briefing on summary
           judgment

     On June 22, 2017, the district court entered its Order Setting

Briefing Schedule for Motions for Summary Judgment (“MSJ Briefing

Schedule”). Doc. 20 (SA15). The Court noted the parties “stipulated at the

initial pretrial conference that liability in this case would not depend on

disputed facts or on facts that need to be the subject of discovery, thereby

making cross-motions for summary judgment appropriate.” Id. at 1

(SA15). See also Order on Cross-Motions for Summary Judgment (“MSJ

Order”) [Doc. 34] at 1 (noting the parties had agreed “that the material

facts are not disputed and that the court [could] decide as a matter of law

whether Mr. Howe violated the FDCPA”) (A1).

     On July 24, 2017, Howe filed his motion for summary judgment and

supporting brief. Docs. 22 & 23 (SA17, 18). On August 23, 2017, Patterson

filed his motion for summary judgment and supporting brief. Docs. 25 &

26 (SA30, 32). In his “Statement of Material Facts Not in Dispute”

(“SOMF”), Patterson did not assert any facts or cite any evidence showing

he had been injured by Howe’s alleged conduct. Br. Supp. Pl.’s Mot.

Summ. J. & Opp’n Def.’s Mot. Summ. J. (“Pl.’s SJ Br.”) [Doc. 26] at 2

(SA33). Patterson further argued that “[n]o genuine issue of material fact

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exists” and asserted that he was “not seeking actual damages” but rather

requesting the entry of summary judgment in his favor and an award of

$1000 in statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A). Id.

at 12 (SA43).

      On September 25, 2020, Howe filed his Response to Plaintiff’s

Motion for Summary Judgment (“Def.’s SJ Resp.”). Doc. 29 (SA44).

Among other arguments, Howe reasserted the objection from his Answer

that the court did not have subject-matter jurisdiction based on the

absence of a case or controversy, arguing “[t]here exists no ‘injury-in-fact’

of the kind required by the United States Supreme Court in Spokeo under

Article III.” Id. at 3 (SA46).

      On September 27, 2020, Patterson filed his Reply Brief in Support

of Summary Judgment (“Pl.’s SJ Reply”). Doc. 31 (SA51). In response to

Howe’s    argument      that     Patterson     lacked     standing,    Patterson

acknowledged that he “did not come forward with evidence that

Patterson himself was misled or deceived,” but argued this was

unnecessary because he was “not seeking an award of actual damages.”

Id. at 2 (SA52). Patterson also incorrectly asserted that Howe “raises a

challenge to Patterson’s standing for the first time.” Id (SA51). (Patterson


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overlooked Howe’s objection in his Answer that there was no “case or

controversy” in this case. See Doc. 9 ¶ 1 (SA8).

     Patterson also contended in response to Howe’s lack-of-standing

argument that “being served with (improper) requests for admission

without being advised that they would be deemed admitted if no response

is made within thirty daysis analogous to receiving the prohibited calls

and letters that the court in [Swike v. Med-1 Sols., LLC, No.

117CV01503JMSMPB, 2017 WL 4099307, at *4 (S.D. Ind. Sept. 15,

2017)] found to establish a concrete injury.” Pl.’s SJ Reply at 2 [Doc 31]

(SA52). In addition, Patterson submitted new evidence. As Exhibit A to

his SJ Reply, Patterson attached the Affidavit of Mark A. Patterson

(“Affidavit”) [Doc. 31-1] (SA56). In his Affidavit, Patterson averred:

     6.    The Requests to Admit essentially asked me to admit
           the case against me and admit that I had no defenses.

     7.    I did have defenses to the claim and did not want to
           admit that all the allegations of the complaint.

     8.    The Requests to Admit did not tell me that if I failed to
           respond in thirty days that the requests would
           automatically be admitted and I did not know that.

     9.    If I had known that if I failed to respond in thirty days
           that the requests would automatically be admitted, I
           would have responded within thirty days.



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     10.   Since I did not know that if I failed to respond in thirty
           days that the requests would automatically be admitted,
           I did not respond to the Requests to Admit.

Id. ¶¶ 6-10 (SA56-57).

     On October 10, 2017, Howe filed his Response to Plaintiff’s

Document 31-1 (SA56). See Doc. 33 (SA59). Howe objected that by failing

to file his affidavit with his own motion for summary judgment on August

23, 2017, Patterson had violated Rule 56 and this Court’s SJ Scheduling

Order. Id. (SA60). Howe argued Patterson’s untimely affidavit should be

disregarded. Id.

     D.    The district court’s granting summary judgment in
           Patterson’s favor

     On March 30, 2018, the district court entered summary judgment

in favor of Patterson and against Howe on Patterson’s FDCPA claim.

MSJ Order [Doc. 34] (A1). With respect to the merits, the district court

held that “Howe’s use and service of requests for admission in the manner

he followed when he sued Mr. Patterson in state court violated the

FDCPA” as a matter of law. (A2.) Specifically, the court found that

Howe’s service of the Requests to Admit violated the FDCPA’s

proscription against the use of deceptive or misleading representations




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or means (15 U.S.C. § 1692e) or of unfair or unconscionable means (15

U.S.C. § 1692f) in the collection of a debt.

      The court concluded the Requests to Admit were “misleading and

unfair” as a matter of law. (A13.) The court reasoned that the Requests

to Admit were served simultaneously with the summons, which informed

Patterson that he must respond to the complaint within so many days

and included “a clear statement that in case of his failure to do so,

judgment by default may be rendered against him for the relief

demanded in the complaint.” (A13 (quoting Indiana Trial Rule 4(C).) The

court also observed the Request to Admit only “request[ed]” that

Patterson respond within 30 days but did not advise him of the

consequences of failing to do so. (Id.) Moreover, according to the court,

the Requests to Admit asked Patterson to admit he had no legal defenses

to the plaintiff’s claims. (Id.)

      The district court thus held:

      And though this court would be inclined to hold that, in order
      to avoid a violation of the FDCPA, Requests to Admit should
      always advise of the consequences of a failure to make timely
      response, it does not need to do so here. Rather, it was the
      combination of communications that was inherently
      misleading and unfair. The summons unambiguously advised
      Mr. Patterson that he faced judgment against him if he failed
      to file a timely answer to the complaint. Mr. Patterson did

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     file an answer, and an unsophisticated debtor would conclude
     that that was what was necessary at that point to avoid
     judgment. But the discovery request Mr. Howe served with
     the complaint and summons ambiguously “requested” Mr.
     Patterson to do essentially the same thing again, but
     separately and only shortly after his response to the
     complaint was due, and in a completely different manner –
     not by filing with the court but by serving the plaintiff’s
     counsel.

     The request for admissions, under these circumstances, would
     confuse an unsophisticated debtor (and in this court’s view,
     probably even a sophisticated one) about the required timing
     and manner of a response to the plaintiff’s claims. The
     Seventh Circuit has held that communications that confuse in
     these ways violate the FDCPA.

Id. at 13–16.

     The district court also relied heavily on McCollough v. Johnson,

Rodenburg & Lauinger, LLC, 637 F.3d 939, 950 (9th Cir. 2011). (A16-

A18.) The court explained that in that case, the court “found that service

of requests for admission on a pro se defendant without explaining that

the requests would be deemed admitted after thirty days was, as a matter

of law” a violation of the FDCPA. (A16.)

     Having found that Howe’s use of the Requests to Admit was

misleading and unfair as a matter of law under the FDCPA, the district

court also rejected Howe’s argument that under Spokeo, Patterson was

required to establish standing by showing he had “suffered a subjective


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pecuniary or other harm to maintain a claim for violation.” MSJ Order

[Doc. 34] at 18 (A18). The court found such “no-harm-no-foul

argument[s]” to be “unavailing.” Id. 10-11 & n.8, 18-21 (A10-11, 18-21).

     The court’s SJ Order contains a section titled “Undisputed Material

Facts.” Doc. 34 at 2-4 (A2-4). In that section, the court did not make any

finding that Patterson had been injured by Howe’s conduct. Id. To the

contrary, the court found that “[t]he parties have designated no facts

about whether the Requests to Admit had any effect on the

disposition of the lawsuit.” Id. at 4. The court also noted later in its

order that “Mr. Patterson has not presented evidence in this case

that shows the statements in the Requests to Admit were false.”

Id. at 17 (A17).

     The court also rejected Howe’s arguments based on Spokeo. Id. at

18-20 (A18-20). The court distinguished Spokeo because it dealt with

Article III’s “injury-in-fact” requirement in the context of claims under

the Fair Credit Reporting Act (“FCRA”) rather than FDCPA. Id. at 18.

The court also reasoned that the Seventh Circuit’s “unsophisticated

consumer” standard is an “objective test” and thus it is ‘unimportant

whether    the     individual   that        actually   received     a   violative


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[communication] was misled or deceived.’” Id. at 19 (quoting Neeley v.

Portfolio Recovery Assoc., LLC, 268 F. Supp. 3d 978, 982 (S.D. Ind. 2017)).

     After rejecting Howe’s argument based on Spokeo that Patterson

was required to demonstrate some “injury in fact,” the district court

observed offhand that “the standing issue may be academic in Mr.

Patterson’s case” because “[h]e has presented evidence, by affidavit, that

he was misled by the requests to admit.” (A20.) However, the court did

not find as a matter of undisputed fact that Patterson had been misled

by the requests for admission or injured by them. Id.

     E.    The district court’s denying class certification, then
           granting class certification, and then decertifying the
           class action

     On October 1, 2018, Patterson, after winning summary judgment,

moved for class certification. See Doc. 52. On June 27, 2019, the district

court denied Patterson’s motion. Order Denying Motion for Class

Certification [Doc. 67] (SA62). The court held class certification was

inappropriate because any common issues would not predominate. Id. at

p. 8–10 (SA69-71).

     On July 12, 2019, Patterson sought reconsideration. See Doc. 71.

On June 1, 2020, the district court granted Patterson’s motion and



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certified a class. Order on Motion to Reconsider Denial of Class

Certification [Doc. 81] (SA72). The court now concluded a common legal

issue predominated. Id. at p. 10 (SA81).

     On June 15, 2020, Howe filed a Rule 23(f) Petition for Leave to

Appeal Class Certification, which this Court denied on July 7, 20207th

Cir. No. 20-8017, Docs. 1 & 6.

     A year later, and based on TransUnion LLC v. Ramirez, 141 S. Ct.

2190, 2197 (2021), Howe moved to decertify the class on September 24,

2021. Doc. 120. Patterson did not oppose decertification (Doc. 124), and

the district court granted Howe’s motion on January 5, 2022 (Doc. 132)

(SA132).

     F.    Howe’s motion to reconsider summary judgment and
           to dismiss for lack of subject matter jurisdiction

     On August 28, 2020, Howe filed a Motion to Reconsider Order on

Cross-Motions for Summary Judgment [Doc. 34] (A1) and To Dismiss for

Lack of Subject Matter Jurisdiction or, Alternatively, To Certify

Interlocutory Appeal. Docs. 89 & 90. Howe argued this Court’s decision

in Casillas, issued after the court issued its MSJ Order, makes clear

Patterson lacks standing to pursue his FDCPA claim. Doc. 90 at 1-2.




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     Howe argued Patterson’s complaint failed to allege any injury in

fact and that Patterson improperly attempted to remedy that defect in

the midst of summary judgment briefing by submitting an affidavit

claiming he had suffered injury. Howe noted that Casillas confirms that

Howe’s arguments in his summary judgment briefing relating to Spokeo

– which the district court had rejected – were correct. Howe also

contended that by submitting his affidavit in breach of the parties’ pre-

summary-judgment stipulation that there were no disputed material

facts, Patterson had sandbagged Howe and prevented Howe from

conducting discovery regarding the material issue of purported fact as to

whether and how Patterson had allegedly been injured by Howe’s

conduct.

     G.    The court’s order on reconsideration and Patterson’s
           deposition

     On March 23, 2021, the district court issued its Order on Motions

for Reconsideration. (A23.) The district court reviewed Casillas and this

Court’s other recent FDCPA and standing cases. (A24 – A32.) The court

rejected Howe’s arguments. It concluded nothing prevented Patterson

from essentially amending his complaint with his affidavit. (A34.) And,

although this Court has emphasized that the elements of standing “are

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not mere pleading requirements” but instead comprise “an indispensable

part of the plaintiff's case,” Spuhler v. State Collection Serv., Inc., 983

F.3d 282, 285 (7th Cir. 2020), the district court concluded the parties’

stipulation that there were no disputed facts for summary judgment did

not “preclude [Patterson] from making assertions in support of standing

that may be disputed.” (A34.) However, the court did agree to allow Howe

to conduct some limited discovery regarding Patterson’s factual

assertions of an injury in fact. (A37-A38.)

     H.    The court’s order on standing

     Following Patterson’s deposition, the parties again briefed standing

and, on July 25, 2022, the district court issued its decision finding that

Patterson demonstrated an injury in fact for purposes of standing. (A49.)

The court found that Patterson had established his standing because he

testified “that he did dispute the debt to Indiana Tech, that he did not

know that Requests to Admit, if not denied within 30 days, were deemed

admitted, that had he known this, he would have made timely responses,

and that he believed he lacked negotiating leverage as a result of

the deemed admissions and agreed to pay the full amount

claimed.” (A55.)



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     This district court focused in particular on Patterson’s alleged belief

during mediation that he lacked leverage to negotiate, which was

information not included in Patterson’s Affidavit. (A55-A56.)2 The court

found that Patterson’s belief he lacked leverage was “concrete” and that

“he testified without contradiction that he entered the mediation

disadvantaged (whether Mr. Howe affirmatively wielded the admissions

against him or not) by virtue of his knowledge that the allegations

against him were legally deemed admitted.” (A58.) The court also found

that “there is no dispute that Mr. Howe's violation of the FDCPA put Mr.

Patterson in this position and that this court can redress his injury.”

(A58). The court thus found Patterson has standing.

                  SUMMARY OF THE ARGUMENT

     Patterson and his counsel (as well as the district court) began this

case believing it was unnecessary for Patterson to demonstrate any

injury other than a statutory violation of the FDCPA. As this Court’s case

law on standing under the FDCPA began to make clear that Spokeo does



2 The district court accused Howe of “cherry-pick[ing]” Patterson’s
statement that about “join[ing] in the theater of [his] mind” to perceive
his alleged injury. (A57.) In fact, Howe had quoted the full portion of
Patterson’s testimony on this point in his brief, setting out the very same
quotation included in the district court’s order. Compare SA351 with A57.
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apply to FDCPA claimants, Patterson attempted to change course. First

he alleged in an affidavit in only vague and conclusory terms that he had

suffered an injury, but his affidavit failed to demonstrate how he had

been injured when he failed to show that the Requests to Admit that had

been served on him sought admissions of “false” facts and when he could

not show that Howe had ever attempted to use his deemed admissions

for any purpose. Patterson then claimed for the first time during his

deposition that the “deemed admissions” had injured him because he felt

that he lacked any “leverage” during the mediation of in Howe’s

Collections Case. But that theory also fails because Patterson did not,

and could not, show that he otherwise would have had any leverage in

mediation and because he never showed that he actually had any viable

defense to the Collections Case.

                             ARGUMENT

I.   There is no federal jurisdiction because Patterson did not
     allege or present evidence of an injury in fact.

     The Supreme Court has held that “standing consists of three

elements.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (citation

omitted). The Court has explained:




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     The plaintiff must have (1) suffered an injury in fact, (2) that
     is fairly traceable to the challenged conduct of the defendant,
     and (3) that is likely to be redressed by a favorable judicial
     decision. The plaintiff, as the party invoking federal
     jurisdiction, bears the burden of establishing these elements.

Id. (internal citations omitted). An “injury in fact” is “an invasion of a

legally protected interest which is (a) concrete and particularized and (b)

actual or imminent, not conjectural or hypothetical.” Casillas, 926 F.3d

at 333 (citation omitted). “An alleged harm need not be tangible to be

‘concrete,’ but it must be ‘real,’ and not ‘abstract.’” Id. (quoting Spokeo,

136 S.Ct. at 1548).)

     Patterson bore the burden of establishing standing from the outset

and continues to bear that burden throughout the case, subject to

increasingly demanding evidentiary standards. The Supreme Court has

explained:

     The party invoking federal jurisdiction bears the burden of
     establishing these [three] elements. Since they are not mere
     pleading requirements but rather an indispensable part of the
     plaintiff's case, each element must be supported in the same
     way as any other matter on which the plaintiff bears the
     burden of proof, i.e., with the manner and degree of evidence
     required at the successive stages of the litigation. At the
     pleading stage, general factual allegations of injury resulting
     from the defendant’s conduct may suffice, for on a motion to
     dismiss we “presum[e] that general allegations embrace those
     specific facts that are necessary to support the claim.” In
     response to a summary judgment motion, however, the

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     plaintiff can no longer rest on such “mere allegations,” but
     must “set forth” by affidavit or other evidence “specific facts,”
     which for purposes of the summary judgment motion will be
     taken to be true.

Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992) (internal citations

omitted) (emphasis added). See, e.g., Diedrich v. Ocwen Loan Servicing,

LLC, 839 F.3d 583, 588 (7th Cir. 2016). The Supreme Court has further

stated:

     The objection that a federal court lacks subject-matter
     jurisdiction . . . may be raised by a party, or by a court on its
     own initiative, at any stage in the litigation, even after trial
     and the entry of judgment.

Arbaugh v. Y&H Corp., 546 U.S. 500, 506 (2006).

     On June 4, 2019, the Seventh Circuit considered in Casillas how

Spokeo applies to FDCPA claims. 926 F.3d 329. This Court, rejecting the

same reasoning applied by the district court in its SJ Order, held: “The

bottom line of our opinion can be succinctly stated: no harm, no foul.” Id.

     In Castillas, the plaintiff alleged that she had received a debt

collection letter that failed to inform her, as required by the FDCPA, that

she had to communicate with the debtor collector in writing regarding

the verification of her debt in order to trigger the FDCPA’s statutory

protections. Id. The Seventh Circuit found that under Spokeo, the



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plaintiff failed to establish standing under Article III. The court

explained:

     The only harm that Casillas claimed to have suffered,
     however, was the receipt of an incomplete letter—and that is
     insufficient to establish federal jurisdiction. As the Supreme
     Court emphasized in Spokeo, Inc. v. Robins, Casillas cannot
     claim “a bare procedural violation, divorced from any concrete
     harm, and satisfy the injury-in-fact requirement of Article
     III.” Article III grants federal courts the power to redress
     harms that defendants cause plaintiffs, not a freewheeling
     power to hold defendants accountable for legal infractions.
     Because Madison’s violation of the statute did not harm
     Casillas, there is no injury for a federal court to redress.

Id. at 331–32. The Seventh Circuit held that although “Casillas caught

the defendant in a mistake, . . . it was not one that hurt her,” and her

case was dismissed for lack of subject matter jurisdiction.

     This Court acknowledged that the FDCPA gives debtors a way to

dispute or verify their supposed debts and “obligat[es] creditors to tell

debtors how to do that.” Id. Casillas alleged that the defendant violated

the FDCPA because it failed to give her accurate notice instructing her

that her communications to dispute or verify her alleged debt were to be

in writing. The problem for Casillas was that she “did not allege that

Madison’s actions harmed or posed any real risk of harm to her interests

under the Act.” Id. at 334. The court continued:



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      She did not allege that she tried to dispute or verify her debt
      orally and therefore lost or risked losing the statutory
      protections. Indeed, she did not allege that she ever even
      considered contacting Madison or that she had any doubt
      about whether she owed Harvester Financial Credit Union
      the stated amount of money. She complained only that her
      notice was missing some information that she did not suggest
      that she would ever have used.

Id.

      This found that “[a]ny risk of harm” to Casillas “was entirely

counterfactual” in light of the fact “she was not at any risk of losing her

statutory rights because there was no prospect that she would have tried

to exercise them.” Id. The defendant’s “mistake” did not “put Casillas in

harm’s way” and “was nothing more than a ‘bare procedural violation.’”

Id. (citation omitted).

      In the wake of Casillas, this Court and district courts within this

circuit have issued dozens of decisions dismissing FDCPA claims just like

Patterson’s. These include:

   Larkin v. Fin. Sys. of Green Bay, Inc., No. 18-3582, 2020 WL

      7332483, (7th Cir. Dec. 14, 2020) (“The plaintiffs seek to invoke the

      power of the federal courts to litigate an alleged FDCPA violation

      that did not injure them in any concrete way, tangible or intangible.

      As explained in Spokeo and Casillas, that’s impermissible under

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  Article III. The suits should have been dismissed for lack of

  standing.”);

 Spuhler v. State Collection Serv., Inc., No. 19-2630, 2020 WL

  7351098, at *1 (7th Cir. Dec. 15, 2020) (“This is yet another appeal

  that focuses on Article III standing to sue for an alleged violation of

  the Fair Debt Collection Practices Act (‘FDCPA’). The appeal comes

  to us following a magistrate judge's grant of summary judgment to

  the plaintiffs on one of their assertions: that the defendant debt

  collector sent them collection letters that were misleading, in

  violation of the FDCPA, because the letters lacked a statement that

  interest was accruing on the debts. To demonstrate standing at the

  summary judgment stage of litigation, the plaintiffs must “‘set

  forth’ by affidavit or other evidence ‘specific facts’ ” demonstrating

  that they have suffered a concrete and particularized injury that is

  both fairly traceable to the challenged conduct and likely

  redressable by a judicial decision. Lujan v. Defs. of Wildlife, 504

  U.S. 555, 561, 112 S.Ct. 2130, 119 L.Ed.2d 351 (1992). Because the

  plaintiffs here have not carried this burden, we vacate the judgment

  and remand for dismissal of their challenge.”);


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 Brunett v. Convergent Outsourcing, Inc., No. 19-3256, 2020 WL

  7350277, at *2 (7th Cir. Dec. 15, 2020) (“A debtor confused by a

  dunning letter may be injured if she acts, to her detriment, on that

  confusion—if, for example, the confusion leads her to pay something

  she does not owe, or to pay a debt with interest running at a low

  rate when the money could have been used to pay a debt with

  interest running at a higher rate. But the state of confusion is not

  itself an injury;” “someone who is not injured cannot represent

  those who are;” and “[t]he judgment is vacated, and the case is

  remanded with instructions to dismiss for lack of subject-matter

  jurisdiction.”);

 Nettles v. Midland Funding LLC, No. 19-3327, 2020 WL 7488610,

  at *3 (7th Cir. Dec. 21, 2020) (“Nettles alleges that Midland violated

  §§ 1692e and 1692f when it overstated the amount of her debt in its

  collection letter. But her complaint does not allege that the

  statutory violations harmed her in any way or created any

  appreciable risk of harm to her. . . . Larkin and Casillas are

  dispositive here. Because Nettles has not alleged that she suffered

  an injury from the claimed FDCPA violations, she has failed to


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     plead facts to support her standing to sue. We VACATE the order

     denying Midland's motion to compel arbitration and REMAND with

     instructions to dismiss the case for lack of jurisdiction.”)

     A.    Patterson’s complaint failed to allege any injury and he
           never amended his complaint.

     Patterson (or, more accurately, his attorney) clearly believed at the

time he filed this lawsuit in December of 2016 that it was unnecessary

for him to show an injury aside from a violation of the FDCPA. He sought

only stipulated and not actual damages. Class Action Compl. [Doc. 1] ¶

14 (SA1); see also id. at p. 3 ¶ D (SA3).3 And he did not allege any injury




3 The Eleventh Circuit has suggested that Congress may have viewed

actual damages as a prerequisite for statutory damages under the
FDCPA, explaining that Congress may have “viewed statutory damages
not as an independent font of standing for plaintiffs without traditional
injuries, but as an ‘additional’ remedy for plaintiffs suffering ‘actual
damage’ caused by a statutory violation.” Trichell, 964 F.3d at 1000. A
number of pre-Spokeo decisions by the Seventh Circuit held that a
plaintiff may seek statutory damages under the FDCPA without seeking
actual damages. See, e.g., Bartlett v. Heibl, 128 F.3d 497, 499 (7th Cir.
1997). But the language of Bartlett now appears irreconcilable with
Casillas’s holding that a mere procedural violation of the FDCPA is
insufficient to create standing. See, e.g., Bartlett, 128 F.3d at 499 (noting
the plaintiff was “seeking only statutory damages, a penalty that does
not depend on proof that the recipient of the letter was misled” and
stating “[a]ll that is required is proof that the statute was violated”).

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in his complaint and did not identify any injury in his SOMF in his

summary judgment motion.

     “At the pleading stage, general factual allegations of injury

resulting from the defendant’s conduct may suffice” to establish standing.

Lujan, 504 U.S. at 561. Here, Patterson failed to satisfy even this lenient

notice-pleading standard because he did not include in his complaint any

allegation of a purported injury resulting from Howe’s conduct. Doc. 1 ¶¶

1-21 (SA1-3). Although Patterson bore the burden of establishing

standing and jurisdiction4, Patterson alleged no facts relating to any of

the elements of standing.

     B.    Patterson failed to establish                  subject     matter
           jurisdiction at summary judgment.

     Moreover, as the Supreme Court made clear in Lujan, Patterson

continues to bear the burden of demonstrating subject matter jurisdiction

throughout this litigation. Even ignoring Patterson’s deficient pleadings,

the district court should have subjected Patterson’s burden of showing

standing at the summary judgment stage to ordinary summary judgment




4 Federal Rule of Civil Procedure 8(a)(1) requires that a pleading must

contain “a short and plain statement of the grounds for the court's
jurisdiction . . . .” Fed. R. Civ. P. 8(a)(1).
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standards. 504 U.S. at 561. Specifically, Patterson could not rest on “mere

allegations” of injury (had Patterson made any such allegations); rather,

Patterson had the burden of “‘set[ing] forth’ by affidavit or other evidence

‘specific facts,’ which for purposes of the summary judgment motion will

be taken to be true.” Id.

     Patterson also failed to meet his burden of establishing subject-

matter jurisdiction at the summary judgment stage. First, based on

Patterson’s Complaint – which failed to allege any purported injury – the

parties “stipulated . . . that liability in this case would not depend on

disputed facts or on facts that need to be the subject of discovery, thereby

making cross-motions for summary judgment appropriate.” SJ Briefing

Schedule [Doc. 20] at 1 (SA15). See also SJ Order at 1 (A1) (noting the

parties had agreed “that the material facts are not disputed and that the

court [could] decide as a matter of law whether Mr. Howe violated the

FDCPA”). Under the parties’ stipulation and the court’s SJ Briefing

Schedule, Patterson should have been limited for summary judgment

purposes to the record defined by his Complaint.

     Second, Patterson, as the party bearing the burden of establishing

jurisdiction, was required under Rule 56 and Local Rule 56-1 to set forth


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with his summary judgment motion whatever facts he contended were

undisputed, including those purportedly establishing subject matter

jurisdiction. See Fed. R. Civ. P. 56(c)(1)(A); Local Rule 56-1(a). The

Seventh Circuit has explained that where

     the movant is seeking summary judgment on a claim as to
     which it bears the burden of proof, it must lay out the elements
     of the claim, cite the facts which it believes satisfies these
     elements, and demonstrate why the record is so one-sided as
     to rule out the prospect of a finding in favor of the non-movant
     on the claim.

Hotel 71 Mezz Lender LLC v. Nat’l Ret. Fund, 778 F.3d 593, 601 (7th Cir.

2015) (emphasis added). The court further explained that “[i]f the movant

has failed to make this initial showing, the court is obligated to deny the

motion.” Id. Indeed, where a party bears the burden of proof on an

element of his or her claim and fails to establish that element in his or

her summary judgment motion, a court must rule against that party even

if the party opposing summary judgment fails to “rebut” that element in

its opposition. See Johnson v. Hix Wrecker Serv., Inc., 651 F.3d 658, 662

(7th Cir.2011) (“A party opposing summary judgment does not have to

rebut factual propositions on which the movant bears the burden of proof

and that the movant has not properly supported in the first instance.”);

Johnson v. Gudmundsson, 35 F.3d 1104, 1112 (7th Cir.1994) (even an

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unanswered motion for summary judgment cannot be granted unless the

movant has shown that the facts warrant judgment in its favor).

     Here, in moving for summary judgment on his FDCPA claim,

Patterson bore the burden of proof in establishing all of the elements of

his claim, including those elements establishing subject matter

jurisdiction. Lujan, 504 U.S. at 561. Howe had already objected to

Patterson’s standing from the very outset of this case when Howe filed

his Answer. See Answer [Doc. 9] ¶ 1 (SA8) (denying “that the Court has

jurisdiction, because there exists given the facts of the case no reasonable

‘case or controversy’ as required by Article III of the Constitution”). And

Local Rule 56-1(a) required Patterson to include in his summary

judgment brief “a section labeled ‘Statement of Material Facts Not in

Dispute’ containing the facts: (1) that are potentially determinative of the

motion; and (2) as to which the movant contends there is no genuine

issue.” Local Rule 56-1(a).

     Contrary to the requirements of Rule 56 and Local Rule 56-1(a),

Patterson’s SOMF did not assert any facts or cite any evidence showing

that he had been injured by Howe’s alleged conduct. See Pl.’s SJ Br. [Doc.

26] at 2 (SA33). Patterson failed to “lay out” in his motion for summary


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judgment any alleged facts establishing injury and thus subject matter

jurisdiction. To the contrary, Patterson reiterated in his summary

judgment brief that he was “not seeking actual damages.” Id. at 12 (SA43).

     C.    The district court erred in allowing Patterson to
           submit a belated affidavit.

     As noted above, Patterson submitted a last-minute affidavit in the

midst of summary judgment briefing claiming in conclusory terms that

he had been injured by Howe’s requests to admit. See Pl.’s SJ Reply [Doc.

26] at 3 (SA34).

      Accepting Patterson’s belated Affidavit was an abuse of discretion.

The district court explained that Patterson submitted his affidavit both

“in opposition to Mr. Howe’s motion for summary judgment and reply in

support of his own” and reasoned this was thus Patterson’s “his first

opportunity to respond to Mr. Howe’s Spokeo argument.” SJ Order [Doc.

34] at 20-21 (A20-21). However, because Patterson bore the burden of

showing he has standing under Article III, it was incumbent upon him to

set out the facts and evidence he believed supported each element of his

claim, including any purported injury, in support of his own motion for

summary judgment. See, e.g., 13B Fed. Prac. & Proc. Juris. § 3531.15 (3d




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ed.) (“[T]he plaintiff has the burden of proving standing.”). He failed to

do so.

     Moreover, Paterson’s opposition to Howe’s motion for summary

judgment was not, in fact, Paterson’s first opportunity to respond to

Howe’s Spokeo argument challenging subject matter jurisdiction; Howe

had already objected to Patterson’s standing in his Answer. See Answer

[Doc. 9] ¶ 1 (SA9).

     D.       Even if his belated affidavit and deposition were
              properly considered, Patterson failed to establish
              standing under Cassillas.

     Even if the district court had properly considered Patterson’s

improper affidavit, the “new evidence” that Patterson attempted to

interject into the summary judgment record was insufficient to establish

standing under Casillas and Spokeo.

     In its SJ Order, the Court did not analyze Patterson’s affidavit. SJ

Order at 18-20. Instead, the Court focused its analysis on rejecting

Howe’s legal argument that “Mr. Patterson had to have suffered a

subjective pecuniary or other harm to maintain a claim for violation.” Id.

at 18. The Court noted briefly at the conclusion of that discussion that,

in any event, Patterson “has presented evidence, by affidavit, that he was



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misled by the requests to admit.” Id. at 20. But in light of the Court’s

rejection of Howe’s legal arguments, the Court did not explain what

Patterson’s evidence of purported injury was or consider whether it

satisfied Spokeo.

           1.       Patterson cited no authority that being served
                    with truthful requests to admit can create a
                    cognizable injury under the FDCPA.

     Patterson did not suffer an injury in fact in the first instance

because Howe did not violate the FDCPA.5 Neither Howe nor the district

court cited any authority that Howe’s service of truthful requests to admit

violated the FCDPA or could possibly cause a legal injury. The district

court held that Howe violated the FDCPA’s prohibition on the use of

deceptive, misleading, unfair and unconscionable means in the collection

of debt (1) by serving his Requests to Admit on Patterson at the same

time as serving the complaint and summons, id. at 14-15; (2) by asking

Patterson to admit certain “conclusory” requests that “broadly [sought]




5 As noted above, the district court held, apparently as a question of first

impression in this Circuit, that the service of requests to admit as used
by Howe here violate the FDCPA. The district court’s decision that
Howe’s conduct violated the FDCPA is necessarily intertwined with
whether Patterson suffered a legally cognizable injury as a result of that
conduct.
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admissions that the ‘collector wins,’” id. at 15-16; and (3) by not advising

Patterson of the consequence of failure to respond to the Requests to

Admit, id. at 16-18, i.e., that “each matter ‘is admitted unless, within a

period designated in the request, not less than thirty days after service .

. . , the party to whom the request is directed serves upon the party

requesting the admission a written answer or objection addressed to the

matter, signed by the party or by his attorney’” and that “[a] matter that

is admitted “is conclusively established unless the court on motion

permits withdrawal or amendment of the admission,” id. at 5.

     At the same time, the court “agree[d] that Mr. Patterson has not

presented evidence in this case that shows the statements in the Requests

to Admit were false.” SJ Order at 17 (emphasis added). Thus, to succeed

on his FDCPA claim and to establish standing, Patterson had to show

that being served with truthful requests to admit in these circumstances

injured him in some way.

     In ruling against Howe, the court did not cite any precedent finding

that the service of truthful requests to admit violated the FDCPA under

any circumstances. That Patterson failed to allege or offer any evidence

that Howe’s Requests to Admit sought the admission of some false fact is


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particularly relevant in light of Casillas’s requirement that Patterson

show he was injured by Howe’s conduct to have standing under the

FDCPA. In light of the allegations and evidence in this case, Patterson

had to show he was injured by the risk he might admit the truth. But

Patterson cited no precedent that creating a risk that a debtor in a

collections matter might admit the truth constitutes an “injury” or is

deceptive, misleading, unfair, or unconscionable under the FDCPA.

     Rather, in finding Howe’s Requests to Admit were improper, the

court relied on cases in which an attorney’s litigation activity either

provided incorrect information to a consumer or sought to trick a

consumer into unknowingly surrendering a viable legal defense based on

the statute of limitations. Cf. Pierre v. Midland Credit Mgmt., Inc., 29

F.4th 934, 947 (7th Cir. 2022) (Hamilton, J., dissenting) (arguing that

FDCPA plaintiffs should be found to have standing when they receive “a

dunning letter demanding money that is not owed,” that an “attempt to

collect [a] debt not owed cause[s] real and foreseeable mental distress

familiar to law,” and that an FDCPA plaintiff should have standing

where she was the object of an effort “to pressure or trick her into paying

the zombie debt”). Such cases are inapplicable here.


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                 a)    McCollough involved an attempt to deceive a
                       debtor into admitting a false fact.

     The district court relied heavily on McCollough v. Johnson,

Rodenburg & Lauinger, LLC, 637 F.3d 939, 950 (9th Cir. 2011). See SJ

Order at 16-18. In that case, the Ninth Circuit affirmed the district

court’s finding that the defendant’s “service of false requests for

admission violated the FDCPA as a matter of law.” 637 F.3d at 952

(emphasis added). The court of appeals noted:

     JRL’s requests for admission asked McCollough to admit facts
     that were not true: that he had never disputed the debt, that
     he had no defense, that every statement in JRL's complaint
     was true, and that he had actually made a payment on or
     about June 30, 2004. JRL had information in its possession
     that demonstrated the untruthfulness of the requested
     admissions.

Id. However, the record showed that some of these “facts” were untrue.

Contrary to the requests for admission, the record showed that the debtor

had a viable statute-of-limitations defense to the debt and that he had not

made a payment on the debt on or about June 30, 2004. Id. at 945-46.

     The Ninth Circuit found that by serving false requests for

admission on a pro se debtor without informing him they would be

deemed admitted if he failed to timely respond, the debt collector used




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misleading and deceptive collection practices in violation of the FCDPA.

Id. The court explained:

     [W]e must conclude that the service of requests for admission
     containing false information upon a pro se defendant without
     an explanation that the requests would be deemed admitted
     after thirty days constitutes “unfair or unconscionable” or
     “false, deceptive, or misleading” means to collect a debt. Here,
     JRL effectively requested that McCollough admit JRL's entire
     case against him and concede all defenses. The least
     sophisticated debtor cannot be expected to anticipate that a
     response within thirty days was required to prevent the court
     from deeming the requests admitted.

Id. at 952 (emphasis added).

     The district court erred by applying McCollough here where there

is no argument or evidence that Howe served false requests to admit on

Patterson.

                 b)   Pantoja involved an attempt to deceive a
                      debtor into surrendering a viable statute-of-
                      limitations defense.

     In its SJ Order, the court also relied on Pantoja v. Portfolio Recovery

Associates, LLC, 852 F.3d 679, 681 (7th Cir. 2017). SJ Order at 14. In

Pantoja, the Seventh Circuit addressed “the practice of attempting to

collect an old consumer debt that is clearly unenforceable under the

applicable statute of limitations.” In that case, a debt collector sent a

dunning letter to a debtor on a debt that was twenty years old and “long


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after the statute of limitations had run.” Id. The court affirmed the

district court’s finding that the dunning letter was deceptive or

misleading under the FDCPA for two reasons: “(a) it did not tell the

consumer that the defendant could not sue on this time-barred debt and

(b) it did not tell the consumer that if he made, or even just agreed to

make, a partial payment on the debt, he could restart the clock on the

long-expired statute of limitations, in effect bringing a long-dead debt

back to life.” Id. These omissions were significant because “a debt

collector violates the Act by suing to collect a consumer debt after the

statute of limitations has run and bars the suit.” Id. at 683.

     The Pantoja court was concerned that the dunning letter misled the

consumer regarding his viable statute of limitations defense. By

proposing certain “settlement offers” in the dunning letter, the debt

collector effectively tried to deceive the consumer into giving up his

statute of limitations defense. The court noted there is a “danger that a

debtor who accepts the offered terms of settlement will, by doing so, waive

his otherwise absolute defense under the statute of limitations.” Id. at

684. But the dunning letter never informed the debtor of this

consequence to agreeing to settle the time-barred claim. The court noted


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that if the debtor accepted the collector’s settlement offer, the debtor

would unknowingly be “in a much worse legal position.” Id. at 685. The

court explained:

     Before he received defendant’s letter, he had an absolute
     defense to any possible collection suit, which would have been
     illegal to file. If he had made or promised to make a partial
     payment, he could have been sued, likely as a pro se
     defendant, in a new suit. . . . . Silence about that significant
     risk of losing the protection of the statute of limitations renders
     Portfolio Recovery’s dunning letter misleading and deceptive
     as a matter of law.

Id. (emphasis added).

     Because the debt collector in Pantoja invited the debtor to take a

step that would place him in a worse legal position – surrendering his

viable statute-of-limitations defense – the court of appeals concluded the

debt collector was required to give clear notice to the debtor of the

consequences of this action because “[o]nly the rarest consumer-debtor

will recognize this danger.” Id. at 684. The court concluded “the FDCPA

prohibits a debt collector from luring debtors away from the shelter of the

statute of limitations without providing an unambiguous warning that

an unsophisticated consumer would understand.” Id. at 685-686. In such

a case, a dunning letter must use language that is “clear, accessible, and

unambiguous     to    the   unsophisticated      consumer”      regarding    the

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implication of agreeing to settle a debt barred by the statute of

limitations. Id. at 686.

     The Seventh Circuit found the debt collector in Pantoja violated

FDCPA requirements by using a dunning letter that was “an example of

careful and deliberate ambiguity” and “obscure[d] from the debtor that

the law prohibits the collector from suing to collect this debt or even from

threatening to do so.” Id. at 687. This was “the sort of misleading tactic

the FDCPA prohibits.” Id.

     Like McCollough, Pantoja is distinguishable because Patterson

never alleged or presented any evidence that Howe attempted to mislead

him into surrendering a viable defense.

           2.    Patterson’s belated affidavit and deposition
                 testimony did not identify any particularized and
                 concrete injury that was actual or imminent.

     Even assuming solely for the sake of argument that the service of

truthful requests to admit could pose a risk of injury and violate the

FDCPA, Patterson also failed to offer any evidence purporting to show

that he was injured by Howe’s requests to admit. To establish standing

at the summary judgment stage, “[s]tatements of fact must be sufficiently

specific to rise above the level of ‘conclusory allegations.’” Swanson Grp.



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Mfg. LLC v. Jewell, 790 F.3d 235, 240 (D.C. Cir. 2015) (quoting Lujan,

504 U.S. at 561) (affirming dismissal for lack of standing).

     Here, Patterson’s affidavit contended only in conclusory terms that

Patterson “ha[d] defenses” to the claim alleged against him but that the

requests to admit “essentially asked [him] to admit the case against [him]

and admit that [he] had no defenses.” Doc. 31-1, ¶¶ 6-7. He further

averred that he did not know the requests to admit would be deemed

admitted “if [he] failed to respond in thirty days,” that if he had received

notice of that consequence he “would have responded within thirty days,”

and that he failed to respond within 30 days because he did not know

that. Id. ¶¶ 8-10. In short, Patterson argued that he had “defenses” but

lost them because the requests to admit were deemed admitted.

      Patterson’s affidavit failed to identify, let alone provide evidence

of, any alleged defense to the complaint that Patterson claimed he

possessed. And in his deposition, Patterson similarly was unable to

identify any defenses to the allegations in the Collections Case that he

claims he possessed but lost due to his deemed admission to the requests

to admit. Although Patterson quibbled with the suggestion that Indiana

Tech had loaned him money for his tuition, Patterson did not dispute the


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material allegations in the Collections Case. In particular, Patterson’s

deposition made clear that Patterson admitted that the Payment Options

Form was valid, that he had enrolled at Indiana Tech and taken courses,

that his financial aid for one semester had been cancelled because he

submitted his financial paperwork too late, and that he intended to pay

Indiana Tech for his tuition. There is no allegation or evidence that the

claims Howe pursued were barred by the statute of limitations, that the

claims were for amounts that Patterson did not owe, or that Patterson

was in any way deceived or harassed into paying debts he was not

obligated to pay.

     Patterson also admitted that Howe never used Patterson’s

admitted Requests to Admit for any purpose in the state-court litigation.

Significantly, the only reason Patterson (allegedly) felt he did not have

“leverage to negotiate” was because his own attorney, Duff, had told

Patterson the Requests to Admit were deemed admitted.

      Moreover, virtually no litigation activity occurred in the

Collections Case. No discovery was conducted, and no motions were filed.

Instead, Patterson and Howe agreed early on (specifically, on or around

August 8, 2016, before Patterson knew about the deemed-admitted


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Requests to Admit from Duff) that they would proceed to mediation. And

that mediation provided Patterson a number of favorable outcomes: he

received a payment plan that he could afford and he immediately

obtained access to his Indiana Tech transcript.

     During his deposition, Patterson also refused to speculate about

what he might have done differently if he had known that the Requests

to Admit must be answered in 30 days or if he had known that he could

move to withdraw the deemed admissions.

     Under these facts, Patterson’s much-belated contention that he

believed he lacked “leverage” during the mediation he conducted with

Howe does not constitute an injury.

     In Rossi v. Kohn Law Firm S.C., for example, a plaintiff sued a law

firm for violating the FDCPA by misrepresenting the attorney’s

involvement in the preparation of the lawsuit. No. 19-cv-192-jdp, 2020

U.S. Dist. LEXIS 86637, at *3 (May 18, 2020). The plaintiff claimed that

had she known how little involvement the attorney had in reviewing her

case, she would have disputed the debt or consulted with an attorney

about potential defenses. Id. at *5. The plaintiff claimed that she had

lost a chance to dispute the debt, but the court rejected this argument


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because there was no evidence that her case would have turned out any

differently. The court explained:

     Even if Rossi had adduced specific evidence that she would
     have disputed the debt and even if it would be reasonable to
     assume that a lawsuit filed on behalf of an attorney could not
     fail, Rossi still would not have standing to sue under the
     circumstances of this case. Rossi identifies no concrete harm
     that she suffered by not disputing the debt[.]

     If Rossi had a basis for disputing the debt, she would have a
     stronger argument. Evidence that the state-court lawsuit
     might have turned out differently would support a finding
     that Rossi had suffered an injury in fact.

Id. at *19–20. In other words, a plaintiff cannot merely allege confusion

and claim he or she would have acted differently but for the

communication; some real harm (or risk of real harm) is necessary to

establish standing.

     Patterson never identified any alleged defense that he claimed he

lost, never offered evidence that he attempted to assert any such defense,

and never offered evidence that Howe even attempted to use his deemed

admissions to the Requests to Admit. Just as in Casillas, Howe’s alleged

“mistake” in failing to provide additional notice did not “put [Patterson]

in harm’s way” and “was nothing more [at most] than a ‘bare procedural

violation.’” Id. (citation omitted). Even considering his belated and



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improper affidavit, Patterson lacked standing under Spokeo and Casillas

and failed to establish subject matter jurisdiction.

      E.   The purported injury identified by Patterson and the
           district court occurred three months after Patterson
           filed his federal complaint and cannot establish
           standing.

      Standing is determined at the time of the filing of the complaint. An

alleged injury suffered after the filing of the complaint cannot

retroactively supply standing. Carlone v. Lamont, No. 21-871, 2021 WL

5049455, at *3 (2d Cir. Nov. 1, 2021). If Patterson’s injury was his believe

in April 2017 that he lacked leverage, that injury occurred after he filed

his complaint in December of 2016.         Such injury could not provide

standing retroactively.

II.   Even if there exists federal jurisdiction, Howe’s service of
      the Requests to Admit did not violated the FDCPA.

      Even if Patterson has established federal jurisdiction, this Court

should reverse the district court’s summary judgment decision and final

judgment on the merits. Specifically, this Court should reverse the

district court’s holding that Howe violated the FDCPA by serving

Requests for Admit under the circumstances of this case, where there is

no evidence that those Requests to Admit sought to deceive Patterson

into admitted false facts. See supra.
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III. The district court         should     have     reduced      Patterson’s
     attorneys fees.

     If Patterson remains a prevailing party following this appeal, the

Court should reduce his attorneys’ fees award. Patterson never pursued

or established any actual damages. His recovery was nominal: stipulated

damages of $1,000.00. When prevailing parties receive only nominal

damages, a significant reduction in large fee expenditures may be

appropriate. See, e.g., Farrar v. Hobby, 506 U.S. 103, 115 (1992) (“When

a plaintiff recovers only nominal damages because of his failure to prove

an essential element of his claim for monetary relief, the only reasonable

fee is usually no fee at all.”). Moreover, much of the litigation required in

this case resulted from Patterson’s own failure to allege an injury at the

outset of this litigation, requiring substantial additional briefing and

discovery that otherwise would have been unnecessary.

                             CONCLUSION

     Howe respectfully asks this Court to reverse the district court’s

judgments and to dismiss this case for lack of jurisdiction.




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                      Respectfully submitted,

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                          CIRCUIT RULE 30(a) APPENDIX


Order on Cross-Motions for Summary Judgment,
     Doc. 34 ............................................................................................. A

Order on Motions for Reconsideration,
     Doc. 106 ........................................................................................... A

Order on Defendant’s Motion to Compel,
     Doc. 131 ........................................................................................... A

Order on Mr. Howe’s Motion to Strike and on Mr. Patterson’s Standing,
     Doc. 149 ........................................................................................... A

Final Judgment,
     Doc. 155 ........................................................................................... A

Order on Motion for Attorney Fees and Costs,
     Doc. 167 ........................................................................................... A

Judgment on Attorney Fees,
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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION


     MARK A. PATTERSON,                          )
                                                 )
                               Plaintiff,        )
                                                 )
                        vs.                      )   Case No. 1:16-cv-03364-DML-SEB
                                                 )
     HOWARD HOWE,                                )
                                                 )
                               Defendant.        )

               Order on Cross-Motions for Summary Judgment

        This case challenges as a violation of the Fair Debt Collection Practices Act a

 practice the defendant Mr. Howe (an attorney) uses in debt collection cases he files

 on behalf of creditor-clients in Indiana state court—or at least did in this case. 1

 Mr. Howe serves with the summons and complaint a document titled “Requests to

 Admit,” consisting of four statements to which his client seeks responses under Rule

 36 of the Indiana Rules of Trial Procedure. This document does not advise of the

 consequences of failure to serve timely denials. Plaintiff Mark A. Patterson seeks

 relief for himself and on behalf of a class. Before the court are cross-motions for

 summary judgment on Mr. Patterson’s individual claims. The parties seek

 resolution on summary judgment of the liability issues presented before addressing




 1     Evidence as to how often Mr. Howe has done so is not before the court
 because class discovery has not been done, and it’s not germane to the issues raised
 by the summary judgment filings. But the generic and conclusory nature of the
 requests for admission suggest it was not limited to the collection action against Mr.
 Patterson.



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 any class certification issues, and the court agrees that, under the circumstances

 here, it is appropriate to do so.

        As explained below, the court determines plaintiff Mark A. Patterson is

 entitled to summary judgment on his claim that Mr. Howe’s use and service of

 requests for admission in the manner he followed when he sued Mr. Patterson in

 state court violated the FDCPA.2 Other matters remain to be decided in this case,

 including the appropriateness of certifying a class, damages, and attorneys’ fees.

 Plaintiff Mark Patterson’s motion for summary judgment (Dkt. 25) is GRANTED.

 Defendant Howard Howe’s motion for summary judgment (Dkt. 22) is DENIED.

        Summary judgment is appropriate when “there is no genuine dispute as to

 any material fact and the movant is entitled to judgment as a matter of law.” Fed.

 R. Civ. P. 56(a). Substantive law determines the facts that are material. Anderson

 v. Liberty Lobby, Inc., 477 U.S. 242, 251, 106 S. Ct. 2505, 91 L.Ed.2d 202 (1986).

 Here, the parties agree that the material facts are not disputed and that the court

 can decide as a matter of law whether Mr. Howe violated the FDCPA.

 I.     Undisputed Material Facts

        Based on the parties’ submissions, the court considers the following

 undisputed facts. Additional undisputed facts pertinent to the resolution of

 particular legal issues are discussed in the sections that follow.




 2     The parties consented to referral to this magistrate judge, under 28 U.S.C.
 636(b) and Federal Rule of Civil Procedure 73, for all proceedings including trial.
 See Dkt. 10-1.

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       On May 10, 2016, defendant Howard Howe filed a lawsuit on behalf of his

 client, Indiana Institute of Technology, against Mark A. Patterson, seeking to

 collect a debt Mr. Patterson allegedly owed to Indiana Institute of Technology

 (“IIT”) for tuition or fees. Attorney Howe was acting as a debt collector within the

 meaning of the FDCPA, and Mr. Patterson’s alleged debt was a consumer debt, the

 collection of which is governed by the FDCPA. Mr. Howe arranged for service by a

 local sheriff’s office on Mr. Patterson of a summons, the complaint, and a document

 titled “Requests to Admit.” Mr. Patterson was served with these documents on May

 12, 2016. The Requests to Admit document reads in pertinent part as follows:




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       None of the documents served on Mr. Patterson explained the consequence,

 set forth in Indiana Trial Rule 36(A), that requests not denied within 30 days would

 be deemed admitted.

       Mr. Patterson did file an answer to the complaint against him,3 but he did

 not serve an answer to the Requests to Admit.

       In the debt collection lawsuit, a mediator was appointed by the court, and the

 parties settled the case. On April 17, 2017, they filed an Agreement of Settlement

 in which Mr. Patterson agreed to the entry of judgment against him for $7,500.00

 plus costs of $181.00, to be paid in installments, in exchange for IIT’s promise to

 release his transcript on request. See Dkt. 23 at p. 9. The parties have designated

 no facts about whether the Requests to Admit had any effect on the disposition of

 the lawsuit.

 II.   The Claims in this Lawsuit

       Mr. Patterson filed his complaint on December 14, 2016. He alleges that Mr.

 Howe’s service of the Requests to Admit violated the FDCPA’s proscription against

 the use of deceptive or misleading representations or means (15 U.S.C. § 1692e) or

 of unfair or unconscionable means (15 U.S.C. § 1692f) in the collection of a debt. He

 relies in particular on the fact that Mr. Howe’s communications did not inform him

 of the consequences under Indiana law of failing to respond to the Requests to

 Admit within the 30 days requested in these particular Requests to Admit. Under




 3     See the Chronological Case Summary from the Hamilton Circuit Court,
 referenced at Dkt. 31, p. 3. The court takes judicial notice of the CCS.
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 Indiana Rule of Trial Procedure 36 (which is modeled on Fed. R. Civ. P. 36), a party

 may serve a written request for the admission of any matters within the scope of

 discovery and each matter “is admitted unless, within a period designated in the

 request, not less than thirty days after service . . ., the party to whom the request is

 directed serves upon the party requesting the admission a written answer or

 objection addressed to the matter, signed by the party or by his attorney.” A matter

 that is admitted “is conclusively established unless the court on motion permits

 withdrawal or amendment of the admission.” See Dkt. 23 at p. 12.

 III.   Analysis

        The purposes of the Fair Debt Collection Practices Act are “to eliminate

 abusive debt collection practices by debt collectors, to insure that those debt

 collectors who refrain from using abusive debt collection practices are not

 competitively disadvantaged, and to promote consistent State action to protect

 consumers against debt collection abuses.” 15 U.S.C. § 1692(e) (quoted in Pantoja v.

 Portfolio Recovery Assoc., LLC, 852 F.3d 679, 683 (7th Cir. 2017)). To those ends, the

 FDCPA prohibits the use of any “false, deceptive, or misleading representation or

 means in connection with the collection of any debt” and the use of “unfair or

 unconscionable means to collect . . . any debt.” 15 U.S.C. §§ 1692e and 1692f.

        Mr. Patterson maintains that he is entitled to judgment as a matter of law

 that Mr. Howe’s communications served on him violated these provisions of the

 FDCPA. In particular, he maintains (1) that the requests were at bottom requests

 to admit “you win and I lose” and exceeded the scope of a proper request under



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 Indiana Trial Rule 36; and (2) that an unsophisticated debtor would not know the

 consequences of a failure to deny in a timely manner, a problem exacerbated by the

 fact that the requests were served with the summons and complaint.

       Mr. Howe has advanced a number of arguments why judgment as a matter of

 law should be entered in his favor. Some of those arguments overlap and some are

 barely developed, but they are summarized here.4 First, he argues that Indiana

 Trial Rule 36 authorized his service of the requests for admission with the

 complaint and summons, so his doing so couldn’t have violated the FDCPA.

 Relatedly, he contends that he had no obligation under the FDCPA to give Mr.

 Patterson legal advice by explaining in his communications the consequences of a

 failure to serve timely responses to the request for admissions. Second, he says that

 the preclusive effect of deemed admissions never applied here because he had not

 served the requests in an electronic format as provided by Indiana Trial Rule

 26(A.1). Third, Mr. Howe argues that Mr. Patterson has designated no evidence

 that an unsophisticated debtor would have found the communications misleading or

 deceptive. Fourth, he argues that Mr. Patterson has no evidence of injury,

 rendering his claims insufficient under Spokeo. Finally, he asserts that the claims

 are barred by the Rooker-Feldman doctrine.




 4      In his first summary judgment submission, Mr. Howe argued that he is not a
 debt collector. He later withdrew that argument. See Dkt. 28.
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       In the course of its discussion below, the court will address to the extent

 necessary all the arguments of the parties, though not necessarily in the order they

 were made.

       A. Use of a discovery device authorized by the Indiana Trial Rules
          does not immunize Mr. Howe from liability under the FDCPA
          regardless of the surrounding circumstances.

       Mr. Howe’s principal argument, whether asserted under the label of due

 process (Dkt. 29 at p. 3), federalism (Dkt. 23 at p. 3), professional responsibility

 (id.), or an “attack on Rule 36” (Dkt. 29 at p.5), is that service of requests for

 admission with the summons and complaint is permitted by the law (in particular,

 Indiana Trial Rule 36) and thus could never violate the FDCPA. Mr. Howe cites no

 authority for that argument. And indeed, that argument cannot be squared with

 Supreme Court and Seventh Circuit precedent. The core of his argument is that in

 litigating against Mr. Patterson, he used means expressly authorized by the

 Indiana Trial Rules, in this case, a discovery device authorized by a trial rule. But

 the law is clear that the use of litigation tools—whether in issuing pleadings,

 filings, or discovery—can violate the FDCPA, even though those tools are

 specifically authorized by the trial rules.

       The Seventh Circuit, along with many other courts, has made clear that the

 litigation activities of lawyers—which are grounded in state rules of procedure—can

 violate the FDCPA. In Marquez v. Weinstein, Pinson & Riley, P.S., 836 F.3d 808,

 810-11 (7th Cir. 2016), the Seventh Circuit expressly held that the FDCPA covers

 the process of litigation and that pleadings or filings can fall within the FDCPA. In



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 doing so, our court of appeals cited the Supreme Court’s decision in Heintz v.

 Jenkins, 514 U.S. 291 (1995), as well as the decisions of numerous federal courts of

 appeal. See 836 F.3d at 810.

       Putting it another way, Mr. Howe contends that the Indiana Supreme Court

 has determined that the rules of procedure it has adopted are “just,” and thus his

 adherence to them is, by definition, just. See Dkt. 29-5. That contention does not

 withstand basic scrutiny. Rules of procedure authorize and govern the service and

 filing of all sorts of documents: pleadings, motions, discovery requests, and the like.

 But that does not mean that a lawyer’s particular use of those procedures is always

 just or cannot give rise to some other liability. One need look no further than Fed.

 R. Civ. P. 11 and 28 U.S.C. § 1927 to see that both the Supreme Court and Congress

 recognize that procedural devices can be used in “frivolous,” groundless,” and

 “vexatious” ways.

       Mr. Howe’s argument has also been implicitly rejected in a number of

 decisions in which courts, including the Seventh Circuit, have found that certain

 debt collection practices, though consistent with state law or rules, have violated

 the FDCPA. For example, in Oliva v Blatt, Hasenmiller, Leibsker & Moore LLC,

 864 F.3d 492 (7th Cir. 2017), the Seventh Circuit, sitting en banc, held that a debt

 collector that had brought a collection suit against the debtor in a municipal district

 in which he didn’t reside—having done so in reliance on controlling precedent—

 nevertheless could violate the FDCPA. Oliva’s predecessor decision, Suesz v. Med-1

 Solutions, LLC, 757 F.3d 636 (7th Cir. 2014), is also instructive on this point. In



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 Suesz, the court held that a collection suit filed in a township other than the

 township where the debtor resided violated the FDCPA, even though state law

 venue rules permitted it. Id. at 638. The Seventh Circuit has also held that a debt

 collector can violate the FDCPA by suing on a debt barred by the statute of

 limitations, though the applicable state law would permit a collector to do so,

 leaving to the debtor the affirmative defense. See Phillips v Asset Acceptance, LLC,

 736 F.3d 1076, 1079 (7th Cir. 2014). See also Pantoja v. Portfolio Recovery

 Associates, LLC, 852 F.3d 679, 683 (7th Cir. 2017).5

       Finally, the court notes that the FDCPA itself provides that the statute

 preempts state laws “to the extent that those laws are inconsistent with any

 provision of [the FDCPA].” 15 U.S.C. § 1692n. The court acknowledges that finding

 this provision entirely dispositive may implicate a beg-the-question flaw. But the

 point remains that Congress recognized in enacting the FDCPA that certain

 practices could be authorized by state law and yet violate the Act. Mr. Howe is

 simply wrong that a practice authorized by Indiana law or rule must be beyond the

 reach of the FDCPA.6


 5      The United States Supreme Court held in Midland Funding, LLC v. Johnson,
 137 S. Ct. 1407 (2017), that submission of a time-barred claim in bankruptcy does
 not violate the FDCPA. The court made clear, however, that its holding does not
 apply to the filing of a civil suit, as addressed in Phillips and Pantoja. See id. at
 1413.
 6      Mr. Patterson has also argued that Indiana Trial Rule 36 affords Mr. Howe
 no safe harbor because his requests for admission were not proper discovery
 requests under the rule. He contends that they were improperly directed toward
 ultimate legal conclusions rather than to evidentiary issues. Mr. Patterson has
 loaded more cargo on his cited authority than it will bear, but the court does not
 need to address his argument in this context and therefore does not. However, as
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        B. The fact that Mr. Howe did not comply with an Indiana trial rule
           regarding service of the requests does not nullify a violation of
           the FDCPA.

        Mr. Howe has also advanced the curious argument that because he did not

  serve an electronic version of the requests for admission, as provided by Indiana

  Trial Rule 26(A.1), then the requests weren’t actually “served,” and thus couldn’t

  have created a violation of the FDCPA. This no-harm-no-foul argument is

  unavailing, for a number of reasons. First, the FDCPA targets “means” and

  “communications” that are misleading or unfair; it is not limited to communications

  “served” under the applicable trial rules. Second, nothing in Indiana Trial Rule

  26(A.1) provides that a discovery request is nullified or deemed invalid if it is not

  served in an electronic format.7 Third, the operation of Rule 26(A.1) would have

  rendered Mr. Howe’s service of the requests for admission under these

  circumstances even more misleading: Mr. Howe has confused this court about when

  Mr. Patterson’s responses to the requests were due when not accompanied by

  electronic service; an unsophisticated consumer would be hopelessly confused.

  Fourth, Mr. Howe’s argument springs from another faulty premise—that the

  misleading communication or unfair means must have actually caused Mr.




  discussed in section III.D. below, the conclusory nature of the requests is one of the
  facts that contributes to the misleading and unfair nature of the communications
  Mr. Patterson received from Mr. Howe.

  7    And if, as Mr. Howe says, the lack of service rendered his entire effort
  meaningless, one is left to wonder why he does it.


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  Patterson to lose his case. Nothing in the FDCPA requires this sort of proof. 8

  Finally, the court notes the irony of Mr. Howe’s argument that a communication or

  means that complies with Indiana Trial Rule 36 cannot form the basis of an FDCPA

  violation when he at the same time acknowledges he failed to comply with the trial

  rules in effecting that communication or means.

        C. The Rooker-Feldman doctrine has no application here.

        Mr. Howe argues that the Rooker-Feldman doctrine bars Mr. Patterson’s

  FDCPA claim. The court does not follow this argument—at all—but can still easily

  reject its application here. The Rooker-Feldman doctrine divests lower federal

  courts of “jurisdiction over cases brought by state-court losers challenging state-

  court judgments rendered before the district court proceedings commenced.” Mains

  v. Citibank, N.A., 852 F.3d 669, 675 (7th Cir. 2017), cert. denied, 138 S. Ct. 227 (Oct.

  2, 2017); see D.C. Court of Appeals v. Feldman, 460 U.S. 462, 482 (1983); Rooker v.

  Fidelity Trust Co., 263 U.S. 413, 415–16 (1923). As Mr. Patterson points out, this

  case was filed well before any judgment was entered in the underlying debt

  collection case.9 Moreover, even if this case had been filed after the state court

  judgment, it does not seek to set aside that judgment. Nor is it “inextricably

  intertwined” with a state court judgment. If Mr. Patterson succeeds here against Mr.

  Howe, it will not undo the money judgment Mr. Howe’s client obtained against Mr.



  8     This point will be addressed more fully in section III.E. below.

  9     See the Chronological Case Summary from the Hamilton Circuit Court,
  referenced at Dkt. 31, p. 3. The court takes judicial notice of the CCS.


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  Patterson in the Hamilton Circuit Court. See Mains, 852 F.3d at 675 (quoting Sykes

  v. Cook County Circuit Court Prob. Div., 837 F.3d 736, 743 (7th Cir. 2016)). 10

        D. Mr. Howe’s service of requests to admit under the undisputed
           circumstances presented here violated the FDCPA as a matter of
           law.

            1. Mr. Patterson was not required to present survey evidence to
               show that the challenged practice was misleading to the
               unsophisticated consumer.

        Courts have frequently explained that alleged FDCPA § 1692e

  deceptive/misleading violations fall in one of three categories: The first category

  consists of cases where the allegedly offensive language is plainly and clearly not

  misleading; in such cases, the collector would be entitled to judgment as a matter of

  law. Lox v. CDA, Ltd., 689 F.3d 818, 822 (7th Cir. 2012) (citation omitted). The

  second category consists of cases where the language is not misleading or confusing

  on its face, but has the potential to be misleading to the unsophisticated consumer;

  in such cases, the plaintiff “may prevail only by producing extrinsic evidence, such

  as consumer surveys, to prove that unsophisticated consumers do in fact find the

  challenged statements misleading or deceptive.” Id. (quoting Ruth v. Triumph

  Partnerships, 577 F.3d 790, 800 (7th Cir. 2009)). Finally, the third category consists

  of cases where the communications are plainly deceptive or misleading, and

  therefore do not require any extrinsic evidence in order for the plaintiff to be




  10     Mr. Howe’s invocation of Rooker-Feldman is also contextually flawed. The
  doctrine undermines a federal court’s subject matter jurisdiction under Rule
  12(b)(1). Mr. Howe has not filed a motion under that rule.
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  successful. Id. This last category, like the first, is amenable to determination as a

  matter of law. See, e.g., Marquez, 836 F.3d at 814-15.

        Mr. Howe contends that Mr. Patterson’s FDCPA claim fails as a threshold

  matter because he has not designated survey or other evidence to show that the

  hypothetical unsophisticated debtor would have found Mr. Howe’s service of

  requests to admit—under these circumstances and without advising of the

  consequences of failure to respond—misleading. See Dkt.29, pp. 1-2. But as the

  following discussion demonstrates, the practice at issue falls into the third category,

  so Mr. Patterson was not required to present any extrinsic evidence.

            2. The requests for admission as served in this case were
               misleading and unfair.

        As noted above, Mr. Patterson received three documents—served together—

  from Mr. Howe. He received a complaint that alleged he owed IIT a certain sum,

  had failed to pay it, and that IIT was entitled to a judgment against him in that

  amount. He received a summons that informed him, as provided by Indiana Trial

  Rule 4(C), that he had a specified period of days, as computed under Indiana Trial

  Rule 6, to respond to the complaint, along with “a clear statement that in case of his

  failure to do so, judgment by default may be rendered against him for the relief

  demanded in the complaint.” Indiana Trial Rule 4(C). And he also received the

  Requests to Admit, in which the plaintiff, through its counsel, “request[ed]” that he

  respond within 30 days to statements tantamount to admissions that he owed the

  money, that he had no legal defenses to the plaintiff’s claim, and that the plaintiff

  was entitled to recover against him.

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        Mr. Howe argues that he can’t be required under the FDCPA to provide legal

  advice to his client’s adversary by advising Mr. Patterson of the legal consequences

  of his failure to serve timely responses to the requests for admission. That broad

  assertion is inconsistent with a recent decision of the Seventh Circuit in which it

  implicitly rejected the notion that an FDCPA violation can’t be grounded in a

  collector’s failure to advise of legal consequences. In Pantoja v. Portfolio Recovery

  Assoc., 852 F.3d 679 (7th Cir. 2017), the court addressed a communication to a

  debtor that invited the debtor to enter into a payment program on a time-barred

  debt but that didn’t advise that such payments could reset the statute of limitations

  on the debt. It explained, “[W]e believe the FDCPA prohibits a debt collector from

  luring debtors away from the shelter of the statute of limitations without providing

  an unambiguous warning that an unsophisticated consumer would understand.”

  Id. at 685.

        And though this court would be inclined to hold that, in order to avoid a

  violation of the FDCPA, requests for admission should always advise of the

  consequences of a failure to make timely response, it does not need to do so here.

  Rather, it was the combination of communications that was inherently misleading

  and unfair. The summons unambiguously advised Mr. Patterson that he faced a

  judgment against him if he failed to file a timely answer to the complaint. Mr.

  Patterson did file an answer, and an unsophisticated debtor would conclude that

  that was what was necessary at that point to avoid judgment. But the discovery

  request Mr. Howe served with the complaint and summons ambiguously



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  “requested” Mr. Patterson to do essentially the same thing again, but separately

  and only shortly after his response to the complaint was due, and in a completely

  different manner—not by filing with the court but by serving the plaintiff’s counsel.

        The request for admissions, under these circumstances, would confuse an

  unsophisticated debtor (and in this court’s view, probably even a sophisticated one)

  about the required timing and manner of a response to the plaintiff’s claims. The

  Seventh Circuit has held that communications that confuse in these ways violate

  the FDCPA. In Marquez v. Weinstein, Pinson & Riley, the court addressed an

  allegation in a collector’s complaint that the debt “will be assumed to be valid and

  correct if not disputed . . . within thirty (30) days.” 836 F.3d at 813. But that was

  not the date by which the answer to the complaint was due, and the court found it

  misleading and deceptive as a matter of law. Id. at 815. The Seventh Circuit’s

  observation—apt here too—is that its function was only to mislead. Id. at 814.

        The confusion created by service of the requests for admission with the

  complaint and summons is exacerbated by the content of the requests. As discussed

  in footnote 6 above, the court does not adopt Mr. Patterson’s view that requests to

  admit conclusory or legal assertions are not permitted by Indiana Trial Rule 36.

  But the language of these particular requests is a factor the court considers in

  concluding that their service here, unaccompanied by a statement of the

  consequences of a failure to respond, contributed to the FDCPA violation. For

  example, they asked Mr. Patterson to admit that the “material” allegations of the

  complaint are true, that the plaintiff is “entitled to judgment as a matter of law,”



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  that there is no valid counterclaim, and that there is no offset. These are not terms

  that an unsophisticated consumer would know. And again, their conclusory nature

  renders them confusing because they broadly seek admissions that “collector wins”

  at the same time the debtor is being directed to file (and in this case did file) a

  timely answer in order to deny that “collector wins.” Furthermore, the discovery

  requests merely “requested” Mr. Patterson to respond; the other documents he

  received clearly commanded a response. An unsophisticated consumer is very

  unlikely to apprehend the dire consequences of not acceding to the collector’s

  “request.”

            3. The Ninth Circuit has held that service of requests to admit
               without advising of the consequence of failure to respond
               violates the FDCPA.

        In McCollough v. Johnson, Rodenburg & Lauinger, LLC, 637 F.3d 939, 950

  (9th Cir. 2011), the court found that service of requests for admission on a pro se

  defendant without explaining that the requests would be deemed admitted after

  thirty days was, as a matter of law, “unfair or unconscionable” or “false, deceptive,

  or misleading” under the FDCPA. Like Mr. Howe’s requests here, the requests at

  issue in McCollough effectively requested the debtor to admit the collector’s entire

  case against him and to concede all defenses. Id. at 952. The Ninth Circuit upheld

  the district court’s entry of summary judgment in favor of the debtor on his FDCPA

  claim, holding that “[t]he least sophisticated debtor cannot be expected to anticipate




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  that a response within thirty days was required to prevent the court from deeming

  the requests admitted.” Id.11

        Mr. Howe urges this court not to follow McCollough. He maintains that this

  Ninth Circuit decision is not binding on this court and that it employs the “least

  sophisticated consumer” standard rather than the “unsophisticated consumer”

  standard that prevails in this circuit. He further maintains that the McCollough

  court was concerned that the statements the collector requested the debtor to admit

  were false and that the creditor knew they were false. Each of Mr. Howe’s points is

  correct, but they do not compel a different result here.

        First, though McCollough is not binding authority, it is instructive and

  persuasive. Second, the difference in legal standards between the Ninth and

  Seventh Circuits might make a difference in some cases, but it does not here. This

  court’s analysis is based on the “unsophisticated consumer” standard. Third, the

  court agrees that Mr. Patterson has not presented evidence in this case that shows

  the statements in the Requests to Admit were false. But falseness is not the only

  factor that can make the requests, without advising of the consequences of timely

  denial, misleading or unfair. The requests in McCollough were not served with the

  complaint and summons, but months later. As explained in the preceding section,

  Mr. Howe’s service of the requests to admit with the complaint and summons and

  without any statement of the consequence of lack of timely denials was



  11    The Ninth Circuit also expressly rejected the argument Mr. Howe makes
  here—that if the requests for admission complied with the state trial rules they
  ought not to subject counsel to liability under the FDCPA. See id. at 951.
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  misleading—because it created the very sort of confusion as to the timing and

  manner of response that the Seventh Circuit condemned in Marquez.

        In addition, as Mr. Patterson points out, the facts here are in some ways

  more compelling than those at issue in McCollough. Service of the requests with

  the summons could suggest to the unsophisticated debtor some endorsement by the

  court, and the requests were more likely to be overshadowed by the commanding

  nature of the complaint and summons.

        To the extent that McCollough could be read to hold that any service of

  requests for admission, without advising of the consequence of failure to respond,

  constitutes a violation of the FDCPA, this court does not go that far. Rather, as

  already explained, the combination of documents served on Mr. Patterson at the

  same time rendered the requests misleading and unfair.

        E. Mr. Howe’s Spokeo argument is unavailing here.

        Mr. Howe also contends that Mr. Patterson lacks the requisite standing

  under Spokeo, Inc. v. Robins, 136 S. Ct. 1540 (2016), to maintain his claim. Spokeo

  was not an examination of standing under the FDCPA, and Mr. Howe has not cited

  a single authority to support his argument that Mr. Patterson had to have suffered

  a subjective pecuniary or other harm to maintain a claim for violation. And indeed,

  this court and a legion of courts around the country have rejected post-Spokeo

  challenges in FDCPA cases. In Neeley v. Portfolio Recovery Assoc., LLC, 268 F.

  Supp. 3d 978 (S.D. Ind. 2017), this court surveyed several of those decisions. See id.

  at 981-82 (citing cases). This court also observed in Neeley that the Seventh Circuit



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  has made clear that FDCPA claims are evaluated under the “unsophisticated

  consumer” standard. Id. at 982 (citing Pantoja, 852 F.3d at 686). And because that

  is an objective test, it is “‘unimportant whether the individual that actually received

  a violative [communication] was misled or deceived.’” 268 F. Supp. 3d at 982

  (quoting Lox, 689 F.3d at 826). See also Pierre v. Midland Credit Mgmt., Inc., 2017

  WL 1427070, at *4 (N.D. Ill. Apr. 21, 2017) (“Spokeo does not sweep so widely as to

  overrule Seventh Circuit decisions affirming the power of Congress to enact statutes

  creating legal rights, the invasion of which confers standing even though no injury

  would exist without the statute.”) (internal quotation marks omitted); Aguirre v.

  Absolute Resolutions Corp., 2017 WL 4280957, at *3 (N.D. Ill. Sept. 27, 2017)

  (“Spokeo does not indiscriminately sweep aside all the legal rights created by

  Congress that confer standing where no injury would otherwise exist.”).

        The prevalence of that view in the Seventh Circuit is also illustrated by

  decisions issued quite recently. See Keys v. Collection Professionals, Inc., 2018 WL

  1469006 (N.D. Ill. March 26, 2018) (plaintiff’s receipt of misleading communication

  establishes concrete injury); Derosia v. Credit Corp Solutions, Inc., 2018 WL

  1513043, at *5 (E.D. Wis. March 27, 2018) (“However, ‘a plaintiff who receives

  misinformation from a debt collector has suffered the type of injury the FDCPA was

  intended to protect against’ and ‘satisfies the concrete injury in fact requirement of

  Article III.’” (quoting Pogorzelski v. Patenaude & Felix APC, 2017 WL 2539782, at

  *3 (E.D. Wis. June 12, 2017)); McMahon v. LVNV Funding, LLC, 2018 WL 1316736

  (N.D. Ill. March 14, 2018) (same).



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        The principal rationale of the many post-Spokeo decisions rejecting standing

  challenges in FDCPA cases can be distilled to this point: a debtor’s receiving a

  misleading communication or being the subject of an unfair means of collection

  inflicts exactly the sort of injury Congress sought to prevent in enacting the FDCPA;

  a violation of the FDCPA can give rise to an “injury in fact” because it is not a “‘bare

  procedural violation’” but rather an infringement on an individual’s substantive

  right conferred by Congress to receive truthful information in debt collection

  communications.” Taylor v. Fin. Recovery Servs., Inc., 252 F. Supp. 3d 344, 349

  (S.D.N.Y. 2017) (quoting Spokeo, 136 S. Ct. at 1549).12

        Nevertheless, the standing issue may be academic in Mr. Patterson’s case.

  He has presented evidence, by affidavit, that he was misled by the requests to

  admit. See Dkt. 31-1. Mr. Howe argues that Mr. Patterson filed his affidavit too

  late—with his reply in support of his motion for summary judgment—and that it

  should not be considered. That is not persuasive for two reasons. First, Mr.

  Patterson’s “reply” was a consolidated brief in opposition to Mr. Howe’s motion for

  summary judgment and reply in support of his own, filed on September 27, 2017; it




  12     Courts are not unanimous on this issue. For example, a panel of the Sixth
  Circuit recently suggested that Spokeo places a constitutional limitation on
  Congress’s ability to declare that a violation of the FDCPA in itself establishes an
  Article III injury: “We know of no circuit court decision since Spokeo that endorses
  an anything-hurts-so-long-as-Congress-says-it-hurts theory of Article III injury.
  Although Congress may ‘elevate’ harms that ‘exist’ in the real world before
  Congress recognized them to actionable legal status, it may not simply enact an
  injury into existence, using its lawmaking power to transform something that is not
  remotely harmful into something that is.” Hagy v. Demers & Adams, 882 F.3d 616,
  622 (6th Cir. 2018) (citations omitted).
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  was his first opportunity to respond to Mr. Howe’s Spokeo argument raised just two

  days before, on September 25, 2017. Second, Mr. Howe had and took the

  opportunity afforded by Local Rule 56-1(d) to file a surreply (Dkt. 33) to address the

  new evidence presented in Mr. Patterson’s filing. Mr. Patterson’s affidavit was not

  untimely and in any event did not prejudice Mr. Howe.13

        F. The court will not make a damages award at this time.

        In his summary judgment brief, Mr. Patterson agrees that he has not shown

  actual damages, and he asks the court to award him the maximum statutory

  damage of $1000. Though Mr. Howe has not directly challenged this request, the

  court will not enter summary judgment in an amount of statutory damages. The

  Seventh Circuit has held that “the FDCPA provides for trial by jury in determining

  statutory . . . damages.” Kobs v. Arrow Serv. Bureau, Inc., 134 F.3d 893, 898 (7th

  Cir. 1998). Even if there were no disputed facts, the need to exercise discretion in

  determining the amount of statutory damages to award makes the issue

  inappropriate for disposition on summary judgment. As one court in this circuit has

  explained, section 1692k “is multifaceted and open-ended, granting the factfinder

  considerable discretion to set statutory damages.” Gillespie v. Blitt & Gaines, P.C.,

  123 F. Supp. 3d 1029, 1033–34 (N.D. Ill. 2015). “When there is a material dispute of

  fact to be resolved or discretion to be exercised in selecting a financial award, then




  13     Interestingly, Mr. Howe also claims (Dkt. 33 at pp. 2-3) that Mr. Patterson’s
  affidavit is irrelevant because the pertinent question is what effect the
  communications would have on a hypothetical unsophisticated consumer—
  interesting, because it tends to undermine Mr. Howe’s standing argument.
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  either side is entitled to a jury. . . .” BMG Music v. Gonzalez, 430 F.3d 888, 892 (7th

  Cir. 2005) (emphasis added). By contrast, only “if there is no material dispute and a

  rule of law eliminates discretion in selecting the remedy, then summary judgment is

  permissible.” Id. at 892–93 (emphasis added). Because “[s]ection 1692k(b) channels,

  but does not eliminate in any circumstance, the jury's discretion to award statutory

  damages,” the court determines that “summary judgment is not appropriate for

  statutory damages.” Gillespie, 123 F. Supp. 3d at 1034. In addition, Mr. Patterson

  has brought this case as a class action, and it is more appropriate to address

  remedies after the resolution of Rule 23 issues and in connection with a final

  judgment.

                                       Conclusion

        Plaintiff Mark Patterson’s motion for summary judgment (Dkt. 25) is

  GRANTED as to liability and DENIED as to amount of damages. Defendant

  Howard Howe’s motion for summary judgment (Dkt. 22) is DENIED.

        So ORDERED.


    Date: 3/30/2018
                                              ____________________________________
                                                 Debra McVicker Lynch
                                                 United States Magistrate Judge
                                                 Southern District of Indiana




  Distribution:

  All ECF-registered counsel of record by email through the court’s ECF system

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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  MARK A. PATTERSON,                             )
                                                 )
                             Plaintiff,          )
                                                 )
                        v.                       )      No. 1:16-cv-03364-DML-SEB
                                                 )
  HOWARD HOWE,                                   )
                                                 )
                             Defendant.          )

          Order on Motions for Reconsideration (Dkts. 88, 89)

        Defendant Howard Howe has asked this court to reconsider its order granting

  summary judgment in favor of the named plaintiff on his FDCPA claim (Dkt. 34)

  and its order certifying a class (Dkt. 81). 1 The summary judgment order was issued

  three years ago and was followed by the appearance of new defense counsel,

  multiple discovery disputes, class certification briefing and decision, and the

  briefing and decision on numerous other motions. Mr. Howe grounds both

  reconsideration motions primarily in Seventh Circuit decisions issued after this

  court's summary judgment order, beginning with Casillas v. Madison Ave.

  Associates, 926 F.3d 329 (7th Cir. 2019), and followed by several more recent

  decisions on the standing requirement in FDCPA cases. Indeed, in the last few

  months, the Seventh Circuit has issued no fewer than eight decisions on FDCPA

  standing, including one in just the last two weeks.




  1      Mr. Howe also asks the court to dismiss for lack of subject matter jurisdiction
  or, alternatively, to certify for interlocutory appeal (Dkt. 89).



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        The court grants the motions to reconsider because—and to the extent that—

  this court's discussion of standing in its summary judgment order cited a line of

  decisions from district courts in this circuit—including this one—that may now be

  inconsistent with these recent decisions of the Seventh Circuit, which before

  Casillas had not specifically addressed standing in the FDCPA context. And

  because no class can be certified if the proposed class representative lacks standing,

  it is appropriate to reconsider the class certification order as well. See Brunett v.

  Convergent Outsourcing, Inc., 982 F.3d 1067, 1069 (7th Cir. 2020). To be clear,

  though, reconsideration is not (at least in this case) tantamount to a different

  result; the new binding authority simply requires a careful re-examination of the

  standing issues raised in this case.

  A.    A Brief Survey of the Seventh Circuit's Casillas and Post-Casillas
        Decisions

        In Casillas, the plaintiff claimed that the defendant had violated § 1692g—

  the provision requiring certain disclosures within a certain period of the initial

  communication to collect a debt—by not advising that the debtor was required to

  communicate in writing in order to trigger certain statutory protections. However,

  the plaintiff did not allege that this omission in the notice harmed her or created

  any real risk of concrete harm. She didn't allege, for example, that she had tried to

  dispute the debt or even considered contacting the defendant to dispute or verify the

  debt. The Seventh Circuit concluded, "Because the [defendant's] mistake didn't put

  Casillas in harm's way, it was nothing more than a "'bare procedural violation,'"




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  insufficient to confer standing. Id. at 334 (quoting Spokeo, Inc. v. Robins, 136 S.

  Ct. 1540, 1549 (2016)).

        In Larkin v. Finance System of Green Bay, Inc., 982 F.3d 1060 (7th Cir. 2020),

  the Seventh Circuit expressly extended the reasoning of Casillas to claims under

  1692e and 1692f (which are substantive prohibitions of certain conduct, as opposed

  to procedural contents of a 1692g notice at issue in Casillas). Section 1692e

  prohibits false, deceptive, misleading representations; section 1692f prohibits unfair

  or unconscionable debt collection practices.    Still, however, an "FDCPA plaintiff

  must allege a concrete injury regardless of whether the alleged statutory violation is

  characterized as procedural or substantive." Ms. Larkin claimed that the creditor

  violated these provisions by sending a collection letter that said, "You want to be

  worthy of the faith put in you by your creditor. . . . We are interested in you

  preserving a good credit rating with the above creditor." The district court had

  dismissed for failure to state a claim under the FDCPA. On appeal, the Seventh

  Circuit said that the case instead should be dismissed without prejudice for lack of

  standing. Id. at 1063.

        The Larkin court explained that the case or controversy requirement limits

  federal court jurisdiction to "concrete disputes presented in a form historically

  recognized as appropriate for judicial resolution in the Anglo-American legal

  tradition." Id. at 1064. "At the pleading stage, the standing inquiry asks whether

  the complaint "clearly . . . alleges facts demonstrating each element in the

  [standing] doctrinal test." Id. The court found the plaintiff's allegations lacking the



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  required injury in fact, which not only requires invasion of a legally protected

  interest, but must be both "concrete and particularized" and "actual or imminent,

  not conjectural or hypothetical." Id. The court focused on the requirement that the

  plaintiff's injury be "both concrete and particularized." "Particularized" means that

  the plaintiff was injured or affected in a "personal and individual way" as opposed

  to a general grievance shared by all members of public. Id.

         The court went on to explain that "[t]he concreteness requirement can be

  trickier." Id. A physical harm or monetary loss (generally characterized as

  "tangible") is easy to identify, but intangible harms raise more difficult questions.

  And though Congress can "identify and elevate historically non-cognizable

  intangible harms to the status of cognizable injuries," the constitution limits the

  court's power to redress only concrete personal injuries arising from the violation.

  In refusing to extend jurisdiction for "bare procedural violations," the court of

  appeals declared that it was simply applying the principle the Supreme Court had

  announced in Spokeo. The court also noted that the plaintiff had not articulated

  any injury—tangible or intangible—from the allegedly offending language in the

  letter she received. 2

         Brunett v. Convergent Outsourcing, Inc., 982 F.3d 1067 (7th Cir. 2020), was

  issued the day after Larkin. Convergent sent Ms. Brunett a collection letter

  demanding payment of a debt just over $1000. It offered to accept 50% of the



  2     At oral argument plaintiff's counsel was given an opportunity to articulate
  some detriment or appreciable risk of detriment the plaintiff had suffered but did
  not do so. Id. at 1066.
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  balance and added that if she couldn't afford that, she could contact Convergent to

  discuss other options. The letter went on to say that if the creditor forgave more

  than $600, it would be required to report that to the IRS.

        Ms. Brunett alleged the statement about reporting to the IRS violated the

  FDCPA because it threatened action that cannot legally be taken and thus was a

  false statement. The Seventh Circuit noted that in these particular circumstances,

  the statement could be accurate, but rather than determining the merits, the court

  turned to the plaintiff's standing.

        During her deposition, Ms. Brunett acknowledged that she had not paid

  anything after receiving the letter and that the statement about possibly reporting

  to the IRS did not affect her credit rating or discourage anyone from doing business

  with her. Instead, she testified that the letter was "confusing," but the court

  observed that she did not "tie that confusion to any injury." Id. at 1068. The

  Seventh Circuit dismissed the assertion that confusion is itself an injury. It held

  that it is not enough for the plaintiff to have been confused; the plaintiff must have

  acted (or not acted, as the case may be) because of that confusion. And being led to

  hire a lawyer because of that confusion "does not change the evaluation." "A desire

  to obtain legal advice is not a reason for universal standing." Id. at 1069.

        The court also rejected a distinction between procedural and substantive

  violations in the standing analysis, asserting that the need for an injury in fact is a

  constitutional rule that "does not depend on how one characterizes the statute

  involved." Id. at 1068. Finally, the court rejected the plaintiff's argument that the



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  case should not be dismissed because the class members may have standing. If the

  named plaintiff lacks standing, class certification should be denied. Id.

        Gunn v. Thrasher, Buschmann & Voelkel, P.C., 982 F.3d 1069 (7th Cir. 2020),

  involved a letter sent to collect unpaid homeowner's assessments to a homeowners'

  association. The letter included the statement that "If Creditor has recorded a

  mechanic's lien, covenants, mortgage, or security agreement, it may seek to

  foreclose" it. The plaintiffs made no payment or other response to the collection

  letter. When the creditor filed a collection suit it did not seek foreclosure.

        The plaintiffs alleged in their FDCPA case that though the statement was

  not false, it was misleading because no rational creditor would foreclose on a two-

  thousand-dollar homeowner's assessment. This court dismissed the complaint on

  the pleadings because the statement about foreclosure was true. On appeal, the

  litigants focused their arguments on whether a true statement can nevertheless be

  misleading because it is unlikely. The Seventh Circuit instead focused on the

  plaintiffs' standing, which hadn't been raised in this court or in the initial appellate

  briefing.

        In their supplemental briefing, the Gunns claimed they suffered annoyance

  and intimidation in receiving such a letter. Id. at 1071. The Seventh Circuit found

  that wasn't enough: "[T]the Supreme Court has never thought that having one's

  nose out of joint and one's dander up creates a case or controversy." Id. at 1072.

        Bazile v. Finance System of Green Bay, Inc., 983 F.3d 274 (7th Cir. 2020), is a

  noteworthy decision because it addresses the standing requirement beyond the



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  pleading stage. The court held that though a complaint may survive dismissal for

  lack of standing, that does not end the inquiry. If the truthfulness of the allegations

  necessary to establish standing has been called into doubt, the trial court must

  address that dispute the same way it deals with other factual issues that determine

  whether it has subject matter jurisdiction, i.e., an evidentiary hearing. Id. at 277.3

        At the pleading stage, it may be enough to have general factual allegations of

  injury from the defendant's conduct that "plausibly suggest" the elements of

  standing. Id. at 278. But if those standing allegations are questioned—either by

  the court or the other party—then the plaintiff "must support each controverted

  element of standing with competent proof," which the court described as "a showing

  by a preponderance of evidence, or proof to a reasonable probability that standing

  exists." Id.

        The court also emphasized that district courts have a responsibility to police

  subject matter jurisdiction and that if the court has notice that the facts alleged in

  plausible support of standing are false or if the complaint "fairly shrieks" that

  there's no jurisdiction, then the court must conduct proceedings and get sufficient

  evidence to resolve the doubt. Id.




  3     "The appropriate mechanism to resolve factual disputes about standing is an
  evidentiary hearing on the defendant's motion to dismiss under Rule 12(b)(1)." 983
  F.3d at 277.
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        Spuhler v. State Collection Service, Inc., 983 F.3d 282 (7th Cir. 2020), is the

  companion case to Bazile. It was heard by the same panel, was written by the same

  judge, and presented the same issue. It was brought as a class action. And like this

  case, Spuhler had been decided on the merits of the FDCPA claim in favor of the

  plaintiff on summary judgment. On appeal, the Seventh Circuit held that at

  summary judgment, the plaintiffs also were required to supply evidence of "specific

  facts" that, "taken as true, show each element of standing." Id. at 285 (citations

  omitted). Because the record did not contain any evidence that the absence of a

  statement about accruing interest had any effect on what these plaintiffs did in the

  context of managing their debts or responding to letters, the Seventh Circuit

  vacated the judgment. However, the court rejected the defendant's argument that

  the plaintiffs lacked standing because they failed to allege a concrete injury in fact

  in their complaint, first, because the case was at the summary judgment—not

  pleading—stage. Moreover, the court held that even if a complaint "'omitted

  essential jurisdictional allegations,' but evidence later demonstrates that the court

  has jurisdiction, 'the deficiency in the complaint is not fatal.'" Id. (quoting Casio,

  Inc. v. S.M. & R. Co., 755 F.2d 528, 530 (7th Cir. 1985)).

        In Nettles v. Midland Funding LLC, 983 F.3d 896 (7th Cir. 2020), the plaintiff

  brought an FDCPA claim against a collection company that sent her a letter that

  overstated her balance by about $100. On appeal, the defendant challenged the

  district court's order denying its motion to compel arbitration. The Seventh Circuit

  did not reach that issue, finding instead that the plaintiff lacked standing because



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  she had not alleged that this misstatement of her balance caused her any harm or

  created "any appreciable risk of harm to her"—that she indeed admitted that the

  letter did not affect her at all. Id. at 900.

         In Smith v. GC Limited Partnership, 986 F.3d 708 (7th Cir. 2021), the court

  reiterated its determination that the principle announced in Casillas applies not

  only to claimed procedural violations of the FDCPA but to substantive violations as

  well. Ms. Smith alleged that the collection company's letter advising that a dispute

  had to be in writing violated section 1692g(a)(3). In finding she lacked standing, the

  court observed that though she said she was confused by the letter, she did not

  contend that the alleged lack of clarity "led her to take any detrimental step." Id. at

  710. The court further noted that even when her standing was challenged in the

  district court, she could not articulate a detriment. Id.

         And on March 11, 2021, the Seventh Circuit issued its decision in Pennell v.

  Global Trust Management, 2021 WL 925494 (7th Cir. March 11, 2021). Pennell

  addressed an alleged violation of entirely different provisions in the FDCPA not

  considered in the Seventh Circuit's earlier standing decisions. Section 1692c(c)

  prohibits a debt collector from communicating with a debtor who advises the

  collector that she refuses to pay and directs it to stop any further communications;

  section 1692c(a)(2) prohibits a debt collector from communicating directly with a

  debtor who is represented by counsel. Ms. Pennell alleged Global Trust sent her a

  letter in violation of both these provisions. She further claimed that the letter

  caused her "stress and confusion" and caused her to think her demand to cease



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  communications had been futile. It also caused her to question whether she was

  still represented by counsel. Id. at *3. Noting that it had found in Brunett that

  confusion or stress is not enough to establish standing, the court said Ms. Pennell

  failed to show that receiving the letter "led her to change her course of action or put

  her in harm's way." Id. at *4.

  B.    Application of Seventh Circuit Standing Authority to this Case

        What is the upshot of all these decisions to the case at hand? In his

  complaint initiating this lawsuit, Mr. Patterson alleged that Mr. Howe, a debt

  collector, caused the Hamilton County Sheriff to serve on him a complaint and

  attached documents, including a summons and "Requests to Admit." He further

  alleged that the Requests to Admit did not advise that they would be admitted if not

  denied or objected to within thirty days and that that produced a violation of the

  FDCPA's proscription of false, deceptive, or misleading communications or means

  and unfair or unconscionable means of collecting a debt. The complaint does not

  include any further allegation of injury.

        Before the parties had engaged in any discovery, and at the request of

  counsel, the court agreed that the parties could first brief the issue of whether Mr.

  Howe's service of the complaint, summons, and requests to admit at the same time

  (without advising of the consequence of not responding to the latter within thirty

  days) violated the FDCPA. Mr. Howe filed his motion for summary judgment first




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  (Dkt. 22) and did not raise any standing issue. 4 Mr. Howe first raised the

  argument, among many others, that Mr. Patterson lacked standing in his brief in

  response to Mr. Patterson's motion for summary judgment, citing Spokeo in support

  (Dkt. 29 at p. 3). As part of his reply to that response, Mr. Patterson submitted an

  affidavit 5 testifying that he had defenses to the creditor's claim and did not want to

  admit the allegations of the complaint. (Indeed, he had filed an answer denying he

  owed the debt.) He further testified that had he known that not responding to the

  requests to admit within thirty days meant that they would automatically be

  admitted, he would have responded to them and that because he did not know this,

  he did not respond. (See Dkt. 31-1 ¶¶ 7-10.)

        Though Mr. Howe argues that the injury Mr. Patterson asserts in his

  affidavit is insufficient as a matter of law, his primary arguments are related to the

  procedural posture of the case and to Mr. Howe's contentions that the court should

  not consider Mr. Patterson's affidavit specifying his injury. The court will address

  those arguments first and then will address Mr. Howe's argument that even if the

  court considers Mr. Patterson's affidavit, it is insufficient to establish his standing.




  4     The court had not raised standing by this point either, because the prevailing
  view among the district courts in this circuit interpreting Spokeo in the FDCPA
  context—including this court—was that the complaint met standing requirements.

  5      The court has already rejected Mr. Howe's argument that Mr. Patterson filed
  his affidavit too late in the summary judgment process, and the court reaffirms that
  conclusion here. See Dkt. 34 at pp. 20-21.
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        1. Mr. Patterson is permitted to cure the standing deficiency in his
           complaint as part of the summary judgment record.

        Mr. Howe first argues that because Mr. Patterson's complaint does not allege

  facts to meet the requirements for standing for FDCPA cases recently articulated by

  the Seventh Circuit, this case should be dismissed for lack of subject matter

  jurisdiction—in short, that his affidavit is too late. The Seventh Circuit has

  recently made clear, however, that if a complaint "'omitted essential jurisdictional

  allegations,' but evidence later demonstrates that the court has jurisdiction, 'the

  deficiency in the complaint is not fatal.'" Spuhler, 983 F.3d at 285 (quoting Casio,

  Inc. v. S.M. & R. Co., 755 F.2d 528, 530 (7th Cir. 1985)).

        2. Mr. Patterson's stipulation that violation could be determined on
           summary judgment does not somehow preclude him from making
           assertions in support of standing that may be disputed.

        Mr. Howe's arguments that this court should not take Mr. Patterson's

  affidavit into account in determining subject matter jurisdiction are grounded in a

  suggestion that Mr. Patterson engaged in some subterfuge or sandbagging—that he

  represented there were no disputed facts when he knew there were (the existence of

  an injury-in-fact that comports with current Seventh Circuit standing

  requirements). That is simply not consistent with the procedural history of this

  case. Both parties stipulated that whether the service of the papers identified

  above, without stating the consequence of not making a separate response to the

  requests to admit (which were not to be filed with the court like the answer but

  served on Mr. Howe, and not within the same timeframe for filing an answer)

  constituted a violation of the FDCPA should be determined first. Neither the court

  nor counsel addressed at                   12

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  that point in the case the facts underlying standing, which is not a substantive

  element of an FDCPA claim but rather a requirement for the court's subject matter

  jurisdiction.6 With his motion to reconsider, Mr. Howe has tried to rewrite the

  procedural history of this case in light of subsequent caselaw developments.

  Nothing in this sequence of events supports Mr. Howe's contention that Mr.

  Patterson's agreement that violation could be determined as a matter of law

  "sandbagged" Mr. Howe to prevent him from taking discovery on the injury issue.7

  Further, as explained below, Mr. Howe will have an opportunity to conduct

  discovery on Mr. Patterson's assertion of injury in fact.

        3. Mr. Patterson's affidavit will not be disregarded because he failed,
           in moving for summary judgment, to assert his injury as an
           undisputed fact.

        Mr. Howe has also made the related argument that in his Statement of

  Material Facts Not in Dispute made in connection with his motion for summary

  judgment, Mr. Patterson failed to assert his injury as an undisputed fact. This

  omission, Mr. Howe argues, in effect allowed Mr. Patterson to amend his complaint

  in the midst of summary judgment briefing, violated the parties' stipulation as

  discussed above, and violated Local Rule 56-1. The court has already addressed the




  6     See supra note 4.

  7     Though "injury" for purposes of standing is not synonymous with "damages"
  recoverable under the FDCPA, Mr. Howe clearly and knowingly chose not to do
  discovery on damages issues before moving for summary judgment. He was not
  misled by the scope of the parties' stipulation about summary judgment issues.
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  first and second arguments. The third—the alleged violation of the local rule—

  touches on an overarching problem with most of Mr. Howe's arguments.

        Mr. Howe's arguments are flawed by his muddling of the requirements for

  standing to support the court's exercise of jurisdiction with the substantive

  elements for an FDCPA violation. That in turn creates a misapprehension of the

  plaintiff's burden in establishing standing. Mr. Patterson was not required at the

  summary judgment stage to demonstrate that it is undisputed that he suffered an

  injury for Article III standing; that was his burden for demonstrating a substantive

  FDCPA violation. If it were otherwise, the court could rarely determine its subject

  matter jurisdiction until after trial, because an FDCPA defendant will usually

  contest that the plaintiff was injured. Rather, the Seventh Circuit has explained

  that when the case reaches the summary judgment phase, the plaintiff must

  demonstrate standing by affidavit or other evidence of specific facts that, taken as

  true, support each element of standing. Spuhler, 983 F.3d at 285-86 (citing Lujan v.

  Defenders of Wildlife, 504 U.S. 555, 561 (1992)). And in Bazile, 983 F.3d at 278, the

  Seventh Circuit put it this way: "[T]he plaintiff must support each controverted

  element of standing with 'competent proof,' which we've understood as 'a showing by

  a preponderance of the evidence, or proof to a reasonable probability, that standing

  exists.'" (quoting McNutt v. GMAC, 298 U.S. 178, 189 (1936), and Retired Chicago

  Police Ass'n v. City of Chicago, 76 F.3d 856, 862 (7th Cir. 1996)).

        Mr. Howe's argument that Mr. Patterson failed to assert and establish his

  standing as an undisputed fact at the summary judgment stage of the case is not an



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  accurate statement of Mr. Patterson's burden. Of course the court must determine

  whether it has subject matter jurisdiction in order to enter final judgment in this

  case; final judgment was not entered upon the granting of the plaintiff's motion for

  summary judgment. And because the standing landscape in FDCPA cases has

  changed markedly since that order, the court will examine Mr. Patterson's standing

  consistent with the current authority, as explained below. It will not, however,

  disregard the evidence he has presented.

        4. Mr. Howe's argument that, even if it is considered, Mr. Patterson's
           affidavit is insufficient to establish standing cannot be fully
           determined at this point.

        Mr. Howe has argued that even if the court does consider Mr. Patterson's

  affidavit, it should nevertheless find it insufficient to meet the requirements for

  standing articulated in the recent Seventh Circuit decisions the court surveyed in

  the first section of this order. Several of these arguments (at Dkt. 90 pp. 24-29) are

  mere repetition of merits arguments the court has already rejected and finds no

  reason to revisit. Whether Mr. Patterson's assertions meet the requirements for

  standing under Casillas and its progeny is only briefly discussed by Mr. Howe, and

  the court finds his legal arguments at this point generally unpersuasive. But now is

  not the time to make a final determination. Mr. Howe also claims that he disputes

  Mr. Patterson's factual assertions of an injury in fact and that the parties'

  stipulations about briefing summary judgment deprived him of the opportunity to

  conduct discovery on Mr. Patterson's assertions of injury. Fair enough. Mr. Howe

  can take discovery, which likely won't be extensive: Mr. Patterson's deposition,



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  perhaps. If the facts necessary for standing are ultimately disputed, the court will

  hold an evidentiary hearing, as the Seventh Circuit has directed (see Bazile, 983

  F.3d at 277), and will consider those jurisdictional facts that have been established

  by "competent proof," or "by a preponderance of the evidence," or "to a reasonable

  probability." Id. at 278.

                                      Conclusion

        The defendant's motions to reconsider (Dkts. 88, 89) are GRANTED IN PART

  AND DENIED IN PART as explained in this order. The motion to dismiss for lack

  of subject matter jurisdiction included in Dkt. 89 is DENIED WITHOUT

  PREJUDICE. The defendant's alternative request to certify for interlocutory

  appeal (Dkt. 89) is DENIED. Discovery of any matter to be determined in

  connection with Mr. Patterson's Article III standing shall be completed by June 23,

  2021. This case is set for a telephone status conference on June 30, 2021, at 10:00

  a.m. to address what further procedures, such as supplemental briefing and/or an

  evidentiary hearing, are appropriate to determine standing. The court will provide

  counsel call-in access information in advance of the status conference.

        So ORDERED.
        Date: 3/23/2021                   ____________________________________
                                             Debra McVicker Lynch
                                             United States Magistrate Judge
                                             Southern District of Indiana


  Distribution:

  All ECF-registered counsel of record via email generated by the court’s ECF system



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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  MARK A. PATTERSON,                               )
                                                   )
                             Plaintiff,            )
                                                   )
                        v.                         )   No. 1:16-cv-03364-DML-SEB
                                                   )
  HOWARD HOWE,                                     )
                                                   )
                             Defendant.            )

               Order on Defendant's Motion to Compel (Dkt. 130)

        Defendant Howard Howe moves to compel plaintiff Mark A. Patterson to

  answer certain deposition questions and produce his retention/fee agreement with

  his lawyer. He asserts that the information is relevant to whether Mr. Patterson

  has standing to bring his claim under the Fair Debt Collection Practices Act.

                                          Background

        In 2018, the court entered summary judgment on liability (not damages) in

  favor of the plaintiff on his claim that Mr. Howe's use and service of requests for

  admission in the manner he followed when he sued Mr. Patterson in state court on

  behalf of a client violated the FDCPA. (Dkt. 34) When Mr. Howe, an attorney, sued

  Mr. Patterson to collect a debt he allegedly owed to Mr. Howe's client, Mr. Howe

  arranged for service on Mr. Patterson by a local sheriff's office of a summons, the

  complaint, and a document titled "Requests to Admit." None of the documents

  served on Mr. Patterson explained the consequence, set forth in Indiana Trial Rule

  36, that requests for admission not denied within 30 days are deemed admitted.


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  Although Mr. Patterson timely filed an answer to the complaint and denied owing

  the debt he was sued for, he did not serve an answer to the Requests to Admit.

  They included requests that (a) the material allegations in the complaint are true

  and the plaintiff is entitled to judgment as a matter of law and (b) Mr. Patterson

  has no valid counterclaim or offset to the plaintiff's claims. Ultimately, a mediator

  was appointed by the state court in the collection matter, and the parties settled the

  case. Mr. Patterson agreed to the entry of a judgment against him and to pay the

  judgment amount in installments.

        Several years after the court entered summary judgment, Mr. Howe asked

  the court to reconsider. The court revisited its ruling because of interim decisions

  by the Seventh Circuit regarding a plaintiff's standing to complain of a defendant's

  violation of an FDCPA provision. See Order at Dkt. 106. As the court's survey of

  the Seventh Circuit's FDCPA standing decisions indicated, the cases require a

  plaintiff to show that the defendant's violation of the FDCPA put the plaintiff in

  harm's way or led the plaintiff to do something vis-à-vis the debt that he otherwise

  would not have done absent the violation. Under these recent cases, an allegation

  or proof that an FDCPA defendant's debt communication contained false or

  misleading information that caused confusion or stress is not sufficient to create

  standing. Id. at 8-9. To establish standing in conjunction with the court's

  adjudication of Mr. Howe's motion to reconsider, Mr. Patterson referred to his

  affidavit testimony (filed with a reply brief earlier in the case, Dkt. 31-1, ¶ 9) that

  he would have responded within 30 days to the requests for admission had he



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  known that they would automatically be admitted if responses were not made in

  that period.

        Because the legal landscape for FDCPA standing had drastically changed in

  the Seventh Circuit and because Mr. Howe had not had an opportunity to test Mr.

  Patterson's factual assertions in support of standing, the court re-opened discovery

  to allow Mr. Howe to seek discovery relevant and proportional to the standing

  inquiry. Dkt. 106 at 15-16.

        In the course of that discovery, Mr. Patterson refused to produce his fee

  agreement with the lawyer, Robert Duff, who is representing him in this FDCPA

  case, and he refused to answer the following deposition questions, all of which are

  the subject of Mr. Howe's motion to compel:

        1. Did Mr. Duff ever tell you to consider withdrawing the deemed admissions
           in the collection action?

        2. After you retained Mr. Duff to represent you in the federal FDCPA case,
           did you keep him updated as to what was happening in the state court
           collection case, including the fact that you were going to be going to
           mediation?

        3. Does the fee retention agreement you entered with Mr. Duff specify what
           attorney's fees you'll pay for his representation?

        4. How much have you paid Mr. Duff to date in the federal case?

        The court addresses below the parties' arguments about the relevance of

  these discovery requests and the applicability of the attorney-client privilege, which

  Mr. Patterson has asserted, to them.




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                                        Analysis

  I.    Mr. Howe contends that he is entitled to discover the scope of Mr.
        Duff's representation of Mr. Patterson and the contents of legal
        advice given by Mr. Duff regarding the collections case, if any.

        Mr. Howe asserts that Mr. Patterson may lack standing if he was not truly

  acting in a pro se capacity throughout the state court collections case and thus had

  an opportunity to receive legal advice during those proceedings about the ability

  under Ind Tr. Rule 36(B) to move the court to permit the withdrawal or amendment

  of his admissions. See Rule 36(B) ("Any matter admitted under this rule is

  conclusively established unless the court on motion permits withdrawal or

  amendment of the admission.") He suggests that if Mr. Patterson had the

  opportunity to obtain legal advice and that that legal advice would have included

  the information that he could seek to withdraw his admissions, then the fact that he

  did not seek their withdrawal demonstrates that he did not believe he was in fact

  harmed by them.

        Before the court reaches the merits of the discovery issues presented, it must

  emphasize two related points. First, the court does not suggest that it is accepting

  Mr. Howe's assertions as valid standing arguments. In other words, it does not at

  this point endorse the view that if Mr. Patterson received legal advice at the

  relevant time and that if he was advised he could seek to withdraw the deemed

  admissions that he would lack standing. The parties have not fully briefed, nor has

  the court decided, the legal parameters of standing in this case. Second, the court's

  ultimate resolution of the motion to reconsider its summary judgment order is



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  limited to standing; all other arguments about whether Mr. Howe's communications

  with Mr. Patterson constitute a violation of the FDCPA have already been decided

  or waived. The court once again reminds Mr. Howe that standing is not a

  substantive element of an FDCPA claim; it is, rather, a prerequisite to the exercise

  of federal jurisdiction in any action.

        The question presented by the motion to compel is simply whether Mr. Howe

  is entitled to certain information pertinent to the standing arguments he intends to

  make. That said, apart from the engagement agreement (discussed below), Mr.

  Howe already has all the non-privileged information he reasonably needs to make

  his arguments about standing. He knows that Mr. Patterson retained lawyer

  Robert Duff to file this FDCPA case before the mediation occurred in the collection

  case, at which the case was settled by an agreed judgment. He knows that Mr.

  Patterson testified that he first consulted with Mr. Duff months after he was served

  in the collection action and the admissions had been deemed "conclusively

  established" under Ind. Tr. Rule 36(B).

        As explained below, the court will permit Mr. Howe to test the veracity of Mr.

  Patterson's testimony about when he retained Mr. Duff and the general scope of

  that representation by requiring the production of a redacted version of the

  fee/retention agreement between Mr. Patterson and Mr. Duff. However, the other

  matters that Mr. Howe seeks to compel are protected by the attorney-client

  privilege or are not relevant to Mr. Howe's theories about Mr. Patterson's standing.




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  II.   The relevant information from the fee/retention
        agreement is not privileged.

        As noted, Mr. Howe has articulated reasons that the timing of Mr. Duff's

  representation of Mr. Patterson, the general subject matter of that representation,

  and the basis on which Mr. Patterson owes fees to Mr. Duff are relevant to

  arguments he intends to make about Mr. Patterson's standing. Mr. Patterson has

  not demonstrated that any of that information is privileged. Indeed, the general

  subject matter of a lawyer's representation, the timing of retention, and fee

  arrangements are not privileged unless that information itself reveals the contents

  of communications between lawyer and client exchanged for the purpose of

  obtaining or giving legal advice and intended to be maintained in confidence. See

  Sandra T.E. v. South Berwyn School Dist. 100, 600 F.3d 612, 618 (7th Cir. 2010)

  (attorney-client privilege protects from forced disclosure the contents of

  communications between lawyer and client made in confidence and for the purpose

  of obtaining or providing legal advice; subject matter of representation as revealed

  in retention agreement may bear on the privilege); In re Walsh, 623 F.2d 489, 494

  (7th Cir. 1980) ("As a general rule, matters involving the receipt of fees from a client

  are not privileged as they do not involve confidential communications.");

  McCullough v. Fraternal Order of Police, 304 F.R.D. 232, 238-39 (N. D. Ill. 2014)

  (noting that the general nature and dates of lawyer's representation may be

  disclosed where germane to legal issues in a case).

        Portions of a fee/retention agreement may be privileged; they may

  memorialize advice from lawyer to client about his or her claims. Portions may also

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  be irrelevant even if not privileged. Further, this court is sensitive to protecting the

  attorney-client relationship. It will not encourage parties to routinely meddle in the

  other side's attorney-client relationship via discovery requests for fee agreements,

  and thus will permit Mr. Patterson to redact the fee/retention agreement so that it

  reveals only the specific matters that could be relevant to Mr. Howe's arguments

  about standing. The court will permit Mr. Patterson to redact all portions of the

  fee/retention agreement except those revealing (a) the parties to the agreement, (b)

  the date the agreement was entered, (c) identity of the general subject matter of the

  representation, and (d) Mr. Patterson's individual responsibility for paying

  attorneys' fees. Mr. Patterson must produce the redacted fee/retention agreement

  within 10 days.

  III.   The contested deposition questions seek privileged
         or irrelevant information.

         A. The privileged communications

         Two of the contested deposition questions clearly ask for information

  protected from disclosure by the attorney-client privilege because they ask Mr.

  Patterson to disclose the contents of advice he may have received from attorney

  Duff. These questions are:

         1 Did Mr. Duff ever tell you to consider withdrawing the deemed admissions
           in the collection action?

         2 After you retained Mr. Duff to represent you in the federal FDCPA case,
           did you keep him updated as to what was happening in the state court
           collection case, including the fact that you were going to be going to
           mediation?




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        Mr. Howe argues, however, that (a) the privilege cannot apply because

  attorney Duff did not enter an appearance for Mr. Patterson in the state court

  collection matter and (b) if a communication between attorney Duff and Mr.

  Patterson concerning the collection matter is privileged, then it follows that Mr.

  Patterson was not truly a pro se litigant in that case, and the foundation for this

  court's summary judgment ruling has crumbled. The court rejects both these

  arguments. First, the existence of an attorney-client relationship that underlies a

  privileged communication is not tied to formal employment or a filed appearance of

  the lawyer; rather, the question is whether a person communicated with a lawyer in

  his or her professional capacity and in confidence for the purpose of seeking legal

  advice. Mr. Patterson need not have retained Mr. Duff to represent him in the

  collections case for them to have had privileged communications related to Mr.

  Patterson's legal interests in that case. See Westinghouse Elec. Corp v. Kerr-McGee

  Corp., 580 F.2d 1311, 1317 (7th Cir. 1978) (a lawyer-client professional relationship

  "is not dependent upon the payment of fees nor . . . upon the execution of a formal

  contract."); 8 Wright & Miller, Federal Practice and Procedure, § 2017 (3d ed.) ("It is

  not necessary that an attorney-client relation have actually existed. One who

  consults a lawyer with a view to obtaining professional legal services from him or

  her is regarded as a client for purposes of the privilege.")

        Second, it does not follow from the fact that Mr. Patterson may have sought

  and received legal advice from Mr. Duff at some point during the pendency of the

  collections case that Mr. Howe's manner of simultaneous service of the Requests to



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  Admit and summons/complaint on consumer debtors like Mr. Patterson did not

  violate the FDCPA, as this court has already ruled. 1 Further, the court is requiring

  Mr. Patterson to provide the date and general subject matter of representation as

  part of his production of the fee/retention agreement, and Mr. Howe can use that

  information to make the arguments he wishes to advance about Mr. Patterson's

  standing.

        B. The remaining information

        As to the remaining contested deposition questions, one is answered via the

  court's ordered production of the redacted fee/retention agreement (the question

  whether that agreement specifies the fees Mr. Patterson personally will pay for Mr.

  Duff's representation) and the other asks for irrelevant information. The latter

  asks how much Mr. Patterson has paid Mr. Duff to date in this FDCPA case. The

  court sees no connection between that information and the theories about standing

  Mr. Howe intends to argue. Whether and the extent to which Mr. Patterson has

  already paid attorneys' fees to Mr. Duff for his services in this litigation does not




  1      And as the court explained above, the question of whether Mr. Howe violated
  the FDCPA has already been affirmatively decided in this case and will not be
  reconsidered. Rather, the court will consider only whether Mr. Patterson has
  sustained a cognizable injury for purposes of this court's jurisdiction to provide a
  remedy for that violation or whether he suffered a "bare procedural violation." If
  Mr. Patterson is found to lack standing, that will of course mean that the court
  lacks jurisdiction to issue a judgment, but the court has no intention to revisit its
  evaluation of the substantive elements of Mr. Patterson's FDCPA claim. Mr. Howe
  will do well to keep this distinction in mind rather than muddling his standing
  arguments with the question of whether the combination of communications he sent
  to Mr. Patterson was inherently misleading. See Dkt. 34 at pp. 13-18.
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  provide insight about Mr. Patterson's access to legal advice before he settled the

  collections case.

        The court thus DENIES Mr. Howe's motion to compel with respect to all four

  deposition questions.

                                      Conclusion

        Mr. Howe's motion to compel (Dkt. 130) is GRANTED IN PART and DENIED

  IN PART. Mr. Patterson must produce a redacted version of the fee/retention

  agreement consistent with this order within 10 days.

        By separate order, the court will set a briefing schedule on the sole remaining

  issue in this case—whether Mr. Patterson has standing to obtain a remedy for Mr.

  Howe's violation of the FDCPA.

        So ORDERED.
                                        ____________________________________
         Date: 12/16/2021                  Debra McVicker Lynch
                                           United States Magistrate Judge
                                           Southern District of Indiana




  Distribution:

  All ECF-registered counsel of record by email through the court's ECF system




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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

  MARK A. PATTERSON,                               )
                                                   )
                               Plaintiff,          )
                                                   )
                          v.                       )    No. 1:16-cv-03364-DML-SEB
                                                   )
  HOWARD HOWE,                                     )
                                                   )
                               Defendant.          )

                 Order on Mr. Howe's Motion to Strike and on
                          Mr. Patterson's Standing

      I.      Introduction

           After the decision of the Seventh Circuit Court of Appeals in Casillas v.

  Madison Ave. Associates, 926 F. 3d 329 (2019), and several decisions that followed,

  this court reexamined its pre-Casillas determination of Mr. Patterson's standing1 to

  obtain a remedy for Mr. Howe's violation of the FDCPA and to represent a certified

  class. Dkt. 106. That reconsideration order permitted Mr. Howe to take discovery

  he had chosen not to take earlier on the factual assertions underlying Mr.

  Patterson's position that he does meet the standing requirement. The court made

  clear, however, that (1) its reexamination was not tantamount to a finding that Mr.

  Patterson lacks standing, and (2) the court's determination that Mr. Howe violated

  the FDCPA is not the subject of reexamination. See id. at 2, 15.




  1      Mr. Howe first challenged Mr. Patterson's standing in the briefing on cross-
  motions for summary judgment, and this court rejected that challenge. See Dkt. 34
  at pp. 18-21.



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        After the court's order on the motions to reconsider, the Supreme Court

  issued its decision in TransUnion LLC v. Ramirez, 141 S. Ct. 2190 (2021), a case

  brought under the Fair Credit Reporting Act. Ramirez, like the recent Seventh

  Circuit decisions, focuses on the Article III injury requirement, but it also makes

  clear that each member of a class must have standing to recover. Following

  Ramirez, class counsel acknowledged that all the members of the certified class

  could not demonstrate standing under the Casillas/Ramirez framework and agreed

  to decertification of the class. What therefore remains is determining whether Mr.

  Patterson himself has the requisite standing to obtain a remedy for Mr. Howe's

  violation of the FDCPA.

        Mr. Howe has completed his discovery on that issue and the parties have

  filed further briefing on the standing issues. Dkts. 137, 143, 147. Mr. Howe has

  also moved to strike Mr. Patterson's affidavit, submitted over four years ago in

  connection with summary judgment briefing. Dkt. 138. All standing issues and the

  related motion to strike are now fully briefed. The court directed the parties to

  identify in their briefing any specific factual disputes pertinent to standing that

  they believe necessitate an evidentiary hearing. Dkts. 115, 133.2 Neither has done




  2      The court included this direction because the Seventh Circuit has held that
  the appropriate mechanism for resolving factual disputes underlying standing is an
  evidentiary hearing. See Bazile v. Finance System of Green Bay, Inc., 983 F. 3d 274,
  277 (7th Cir. 2020).

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  so.3 The court agrees that it can rule on the evidence and argument already

  submitted.

            The court has carefully examined the parties' arguments and the evidence

  presented on the question of Mr. Patterson's standing. As detailed below, Mr.

  Howe's positions that Mr. Patterson's 2017 affidavit should be stricken and that he

  lacks Article III standing rest on (1) a selective reading and mischaracterizations of

  Mr. Patterson's deposition testimony and (2) an unsupportable and untenable

  application of standing doctrine to the evidence presented.

            The claims and evidence in this case have been fully set forth in earlier

  opinions and will not be repeated here but only supplemented as necessary to

  address the pending issues.

      II.      Analysis

               A. The motion to strike Mr. Patterson's 2017 affidavit is based on
                  a selective reading and mischaracterizations of Mr. Patterson's
                  deposition testimony.

            When Mr. Howe challenged Mr. Patterson's standing in connection with

  briefing of the merits issues at the summary judgment stage, Mr. Patterson

  submitted an affidavit in which he testified, among other things, that (1) he had

  defenses to the complaint and did not want to admit all the allegations of the



  3      Mr. Howe advised the court in his briefing that he does not believe there are
  any disputed facts and reserved the right to change his position if Mr. Patterson
  "attempts to submit new evidence with his brief." Dkt. 137, fn. 2. Mr. Patterson did
  not submit any evidence outside his affidavit and deposition testimony. And as the
  discussion to follow shows, Mr. Howe's challenges to Mr. Patterson's standing focus
  not on disputes about Mr. Patterson's view of the facts but rather on what to make
  of those facts.
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  complaint, (2) he did not know that if he failed to respond to the Requests to Admit

  within 30 days the requests would be automatically admitted, (3) had he known

  this, he would have responded within 30 days, and (4) because he did not know this,

  he did not respond to the Requests to Admit. Dkt. 31-1.4

        Mr. Howe now moves to strike this affidavit, arguing that Mr. Patterson's

  more recent deposition testimony is in conflict with his affidavit. See Dkt. 138 ¶¶

  14-23. Mr. Howe identifies these purported inconsistencies with citations to Mr.

  Patterson's deposition testimony that (1) he would "rather defer" to his counsel to

  identify what specific defenses he had to the complaint and their legal

  ramifications; (2) it was hard to speculate on what he would have done differently

  had he been advised of the consequence of not responding to the Requests to Admit

  within 30 days; and (3) that it was unclear to him "exactly how [he] would have

  answered or responded to certain Requests to Admit. Id.

        Even without any further context—just on its face—the court does not see

  contradictions between the affidavit and deposition testimony that would warrant

  the striking of the former.5 There's no contradiction between Mr. Patterson's



  4      At the summary judgment stage, Mr. Howe also argued that the affidavit was
  not timely, Dkt. 33 at pp.1-2, but the court determined the argument was without
  merit. Dkt. 34 at pp. 20-21.

  5      And though the court's ruling is not based on this distinction, Mr. Patterson
  correctly points out that the doctrine on which Mr. Howe relies (the "sham affidavit
  rule") applies when a later-drafted affidavit contradicts deposition testimony, not
  the other way around. This is a meaningful distinction. An affidavit can be
  prepared under circumstances far more amenable than deposition testimony to
  careful crafting by counsel, without follow-up and questioning by an adversary.

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  statement in his affidavit that he had defenses to the complaint (and indeed, he

  filed an answer denying material allegations of the complaint) and his reluctance in

  his deposition to identify those defenses specifically.6 He also did not contradict his

  affidavit testimony that he would have timely responded to the Requests to Admit

  had he known of the consequences of a failure to do so when he testified in his

  deposition that he couldn't say exactly what his responses would have been because

  he hadn't gotten to that point, other than that he would have tried to get some

  assistance with the responses.

        More troubling than Mr. Howe's insistence that these match-ups of affidavit

  testimony to deposition testimony demonstrate contradictions when they don't is his

  selective and misleading citation of Mr. Patterson's deposition testimony. Mr. Howe

  does not engage with Mr. Patterson's deposition testimony that:

            •   He believed when he was sued that the creditor, Indiana Tech, was

                not entitled to recover the full debt it had sued upon because it had

                made errors in processing his financial aid and in ensuring that

                financial aid covered the classes he was taking. Dkt. 136-1 at pp. 32,

                65-66, 68, 72, 73, 112, 119, 136, 138-129, 150.

            •   He filed an answer to the complaint within the time the papers Mr.

                Howe served on him indicated he must do so, and that answer denied




  6     Furthermore, as discussed below, Mr. Patterson did testify in his deposition
  about some defenses he wanted to assert.
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                the allegation that Indiana Tech was entitled to recover from him. Id.

                at pp. 60-61, 63-73.

            •   Had he known there was a time limit for responding to the Requests

                to Admit, he would have done so. Id. at pp. 94-95, 97-101, 107-110,

                115-116, 149-150.

            •   He settled the lawsuit against him for the full amount demanded

                because the admissions left him with no leverage to negotiate. Id. at

                pp. 97-102, 107, 110, 115-170, 150.

        It is simply incorrect for Mr. Howe to assert, as he does in the motion to

  strike, that in his deposition Mr. Patterson was unable to identify any defenses to

  the complaint and that he could not have disputed the material allegations of the

  complaint. The whole of Mr. Patterson's testimony demonstrates that conclusion,

  but it is also succinctly illustrated in this question and answer:

        Q: So as we sit here at this moment, you're not aware of any defenses that
        you would have stated in defense of the collection action as of May 2016?

        A: That wouldn't be accurate. I think what I'm trying to convey is that
        essentially I've gone through a series of situations where I have spoken on my
        own behalf and I seem to have waived or put aside my defenses because of my
        lack of knowledge on the law. And because [my affidavit] was filed on my
        behalf by my attorney, I would rather him speak to the legal ramifications of
        your question than me misspeaking.

  Dkt. 136-1 at p. 139.

        The court will not strike Mr. Patterson's affidavit.




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            B. Mr. Howe's attempts to avoid Mr. Patterson's demonstration of
               Article III injury rests on an unsupported and untenable
               application of standing doctrine to the evidence presented.

        In its order of March 23, 2021, the court discussed at length the line of

  Seventh Circuit decisions on the standing requirement in FDCPA cases, beginning

  with Casillas v. Madison Ave. Associates, 926 F.3d 329 (7th Cir. 2019). That

  discussion will not be repeated here. But the court has noted, for example, that

  standing cannot be established with a "bare procedural violation" that didn't put the

  plaintiff "in harm's way" or was merely "confusing" or "annoying" or "stressful."

  Our court of appeals has further explained that the plaintiff must have acted (or not

  acted, as the case may be) because of the violation or otherwise have suffered injury

  in a particularized and concrete way. See, e.g., Brunett v. Convergent Outsourcing,

  Inc., 982 F.3d 1067 (7th Cir. 2020). Ramirez may require more than Casillas: the

  Court held that a risk of future harm (or, as the Seventh Circuit has put it, being

  placed "in harm's way"), if speculative, does not establish standing in a suit for

  money damages; that risk of harm must have materialized. 141 S. Ct. at 2210-12.

        Against this backdrop, Mr. Patterson maintains that he has established his

  standing to obtain a remedy for the violation he has shown. In sum, he has

  testified, as discussed above, that he did dispute the debt to Indiana Tech, that he

  did not know that Requests to Admit, if not denied within 30 days, were deemed

  admitted, that had he known this, he would have made timely responses, and that

  he believed he lacked negotiating leverage as a result of the deemed admissions and

  agreed to pay the full amount claimed.



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        Mr. Howe argues that this is insufficient. As a factual predicate for his

  argument, Mr. Howe asserts (1) that Mr. Patterson did indeed owe Indiana Tech

  and that his defenses were not valid (Dkt. 137 at pp. 2-4); (2) that he intended to

  pay but needed a payment plan (id. at pp. 4-6); (3) that when he was sued he did not

  contact an attorney but drafted and filed an answer on his own denying certain

  allegations and affirmatively raising other defenses (id. at pp. 7-10); (4) that he did

  not, at the time of his deposition, dispute other material elements of the claim (id.);

  and (5) that he did not serve discovery or otherwise defend the case (id. at p. 10).

  Mr. Howe goes on to point out that when Mr. Patterson later learned from counsel,

  around December of 2016, that the Requests to Admit were deemed admitted for

  lack of timely response, he did not attempt to "undo" or withdraw the admissions,

  presumably by filing a motion with the court under Ind.R.Tr.P. 36(B), or by asking

  Mr. Howe not to use the admissions against him. Id. at pp. 10-12. Mr. Howe also

  asserts that he did not attempt to use the admissions against Mr. Patterson to

  collect the alleged debt (id. at pp. 11-12) and that Mr. Patterson ended up with a

  favorable monthly payment plan and his transcript as a result of the mediation of

  the case. Id. at pp. 13-17. Mr. Howe also notes, as if pertinent to standing, that

  Mr. Patterson has not sought actual damages in his FDCPA case but rather a

  statutory damages remedy. Id. at p. 12.

        And in his reply brief, Mr. Howe draws particular attention to Mr.

  Patterson's deposition testimony that he was harmed by Mr. Howe's service of the

  requests for admission because "it was necessary to 'join in the theater of my mind.'"



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  Dkt. 147 at p. 4 (quoting Dkt. 136-1 at pp. 105-06). This, Mr. Howe asserts, is

  insufficient because "an alleged harm that can only be perceived by entering the

  theatre of the plaintiff's mind falls short of the concrete, particularized injury

  required to establish Article III standing." Dkt. 147 at p. 4. This is Mr. Patterson's

  testimony from which the above-quoted portion was cherry-picked, which clearly

  articulates his injury:

        [T]he only way I feel like I can describe it is while there might not have been
        a direct use, I would almost, like – just join in the theater of my mind here.
        Imagine if you're being robbed and someone has a weapon, but they don't use
        it. The presence of that weapon immediately disarms you and limits your
        options of response to particular action.

        And so while there may not have been a direct thing that I can point to to
        say, Well, because things were admitted, this was what happened, but I will
        say that because these were admitted, it's like my leverage was gone. Like I
        wasn't able to adequately defend myself and ultimately have to settle. I
        mean, it wasn't even like – the word "settlement," I would use that word
        loosely. I mean, it wasn't like there was any concessions that they made on
        their end, especially even financially.


  Dkt. 136-1 at pp. 105-06.

        The evidence on which Mr. Howe relies, even if fully credited, does not

  diminish Mr. Patterson's testimony, which indisputably establishes that the

  circumstances that led Mr. Patterson not to respond timely to the Requests to

  Admit caused him to suffer an injury in a particularized and concrete way, that the

  injury was likely caused by Mr. Howe, and that the injury would likely be redressed

  by judicial relief. Ramirez, 141 S. Ct. at 2203 (citing Lujan v. Defenders of Wildlife,

  504 U.S. 555 (1992)); Brunett v. Convergent Outsourcing, Inc., 982 F.3d 1067 (7th

  Cir. 2020). The harm Mr. Patterson alleged is particular to him; it is not an injury

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   suffered by consumers generally. It is concrete; he testified without contradiction

   that he entered the mediation disadvantaged (whether Mr. Howe affirmatively

   wielded the admissions against him or not) by virtue of his knowledge that the

   allegations against him were legally deemed admitted. And there is no dispute that

   Mr. Howe's violation of the FDCPA put Mr. Patterson in this position and that this

   court can redress his injury. This is far from a "mere procedural violation" that

   won't support standing.

         Mr. Howe's notion of standing would demand far more. The essence of his

   argument is that Mr. Patterson lacks standing because he really was liable for the

   underlying debt, because he didn't try to ameliorate the negative consequences of

   his failure to make timely responses to the Requests to Admit, because all-in-all he

   got a pretty good result in the collection case, and because his request for statutory

   damages is somehow a concession that he hasn't been injured.7 The problems with

   these arguments are legion. First, there is no decisional authority for them.8



   7      He also maintains that the absence of an allegation of injury in the complaint
   defeats Mr. Patterson's standing. Dkt. 137 at pp. 28-29. As the court has already
   pointed out, the Seventh Circuit has rejected this argument. See Spuhler v. State
   Collection Service, Inc., 983 F. 3d 282, 285 (7th Cir. 2020).

   8      Mr. Howe cites a district court decision from Wisconsin, Rossi v. Kohn Law
   Firm, S.C., 2020 WL 2527176 (W.D. Wis. May 18, 2020). The Rossi court found that
   the plaintiff lacked standing to obtain a remedy under the FDCPA against a lawyer
   who signed a complaint without "meaningful involvement" in evaluating the claim.
   Her assertion of standing, the court held, rested merely on her vague argument that
   the information of which she was allegedly deprived "had the potential to affect her
   actions." In contrast, Mr. Patterson testified that Mr. Howe's violation of the
   FDCPA did affect his actions in a concrete, specific manner. Further, the court in
   Rossi perceived virtually no causal effect from the lack of information about the
   extent of the lawyer's involvement on the defenses the debtor may have raised in
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   Second, they would require the court—just to decide the threshold question of its

   jurisdiction—to try the entire case (and perhaps the underlying debt collection case

   too). Third, Mr. Howe conflates the requirement of an injury for standing purposes

   with damages under the FDCPA, and accepting Mr. Howe's position would be

   tantamount to erasing the statutory damages remedy Congress created in the

   FDCPA (and in other statutes as well). Fourth, it would require Mr. Patterson to go

   to significant lengths to undo the harm done to him before he could claim an injury;

   in this case, it would charge him with an obligation to undertake an effort to have

   the admissions withdrawn under Rule 36(B), neither a sure thing nor one without

   sometimes costly conditions. See General Motors Corp. v. Aetna Casualty & Surety,

   573 N.E.2d 885, 889 (Ind. 1991) (upholding trial court's denial of request to

   withdraw deemed admissions); Wright & Miller, Federal Practice and Procedure §

   2264 (3d ed.) (citing Upchurch v. USTNET, Inc., 160 F.R.D. 131 (D. Or. 1995). See

   also National Asset Consultants, LLC v. Midwest Holdings-Indianapolis, LLC, Case

   No. 1:18-cv-01616-JRS/DML, Order on Motion to Deem Requests for Admission

   Admitted (S.D. Ind. July 8, 2019).

         Having considered, reconsidered, and considered the issue yet again—after

   affording the defendant an opportunity to conduct discovery and to seek a hearing

   on any factual dispute he identified—the court determines that Mr. Patterson has

   standing to obtain a remedy for Mr. Howe's violation of the FDCPA.




   the collection case. The same cannot be said about the effect of deemed admissions;
   they defeat all defenses.
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      III.   Further Proceedings

         In its order of March 30, 2018, the court determined as a matter of law that

   Mr. Howe violated the FDCPA. Dkt. 34. In connection with summary judgment

   briefing, Mr. Patterson agreed that he had not shown actual damages and asked the

   court to award him the maximum statutory damage of $1000. The court declined to

   do so at that time, and the relevant Seventh Circuit authority holds that the

   question of damages—even statutory damages—is a jury question. Kobs v. Arrow

   Service Bureau, Inc., 134 F.3d 893 (7th Cir. 1998) (citing Sibley v. Fulton DeKalb

   Collection Service, 677 F.2d 830 (11th Cir. 1982)).

         The damages issue is therefore set for trial by jury on August 29, 2022, at

   9:00 a.m. in Room 349, United States Courthouse, Indianapolis, Indiana.

         In light of the limited amount at issue for trial, the court strongly encourages

   the parties to consider and agree on an alternative to jury that could include, for

   example, a bench trial, a submission of the statutory damages issue to the court on

   the existing record, or a stipulated statutory damages amount (that preserves

   appellate rights on other issues). Counsel shall confer, and by August 1, 2022, file a

   notice with the court to advise whether they have reached agreement on a

   procedure that would make a jury trial unnecessary. Otherwise, the matter will be

   presented to a jury on August 29, 2022.

         Once the statutory damages issue has been determined, the court will enter a

   final judgment and a schedule for Mr. Patterson's fee petition.




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      IV.      Conclusion

            The defendant's motion to strike affidavit (Dkt. 138) is DENIED. The

   standing of the plaintiff to obtain a judicial remedy in this case is confirmed. The

   issue of statutory damages is set for trial by jury on August 29, 2022, at 9 a.m. in

   Room 349, United States Courthouse. The parties must notify the court by August

   1, 2022, whether and in what manner they agree to resolution of the damages issue

   without a jury.

            SO ORDERED.

             Date: 7/25/2022
                                         ____________________________________
                                            Debra McVicker Lynch
                                            United States Magistrate Judge
                                            Southern District of Indiana




   Distribution:

   All counsel of record via CM/ECF




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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  MARK A. PATTERSON,                                 )
                                                     )
                             Plaintiff,              )
                                                     )
                        v.                           )   No. 1:16-cv-03364-DML-SEB
                                                     )
  HOWARD HOWE,                                       )
                                                     )
                                  Defendant.         )

        Order on Motion for Attorney Fees and Costs (Dkt. 156)

           On August 11, 2022, the court entered final judgment in favor of plaintiff

  Mark Patterson on his individual claims that defendant Howard Howe violated the

  Fair Debt Collection Practices Act, and it awarded statutory damages. Mr. Patterson

  has now filed a motion for award of his attorney fees and costs incurred in this

  action. That motion is now fully briefed, and the court has carefully considered the

  parties' arguments in light of its own knowledge of this case and the manner in

  which it was litigated over the course of nearly six years.

        The three major legal issues addressed by the parties and the court in this

  case were: (1) whether Mr. Howe had violated the FDCPA, (2) whether a class

  should be certified, and (3) whether Mr. Patterson had standing to recover for Mr.

  Howe's violation of the FDCPA. Mr. Patterson was successful on issues 1 and 3 and

  ultimately unsuccessful on issue 2. Because Mr. Patterson's individual action was

  successful, he is entitled to costs and reasonable attorneys’ fees under the FDCPA.

  15 U.S.C. § 1692k(a)(3) (“[I]n the case of any successful action . . ., [the debt




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  collector is liable for] the costs of the action, together with a reasonable attorney fee,

  as determined by the court.”)

        A reasonable attorneys’ fee is generally determined by multiplying (a) a

  reasonable hourly rate by (b) the number of hours reasonably expended on the

  litigation. E.g., Hensley v. Eckerhart, 461 U.S. 424, 433 (1983). In deciding a

  reasonable fee, the court does not hold itself to "auditing perfection" but is entitled

  to do "rough justice" and to use estimates in calculating and allocating an attorneys'

  time. See Fox v. Vice, 563 U.S. 826, 838 (2011).

        A. Reasonable Hourly Rate

        As explained in numerous Seventh Circuit decisions, a reasonable hourly rate

  is one "derived from the market rate for the services rendered" and "we presume

  that an attorney's actual billing rate for similar litigation is appropriate to use as

  the market rate." E.g., Pickett v. Sheridan Health Care Ctr., 664 F.3d 632, 639 (7th

  Cir. 2011); Mathur v. Board of Trustees, 317 F.3d 738, 743 (7th Cir. 2003) ("Only if

  an attorney is unable to provide evidence of her actual billing rates [regularly

  charged and paid by clients] should a district court look to other evidence" in

  deciding a reasonable hourly rate.)

        Mr. Duff seeks reimbursement for all legal work at his current $445 hourly

  rate. He has submitted evidence to establish that that is his current rate charged to

  clients and that it is reasonable in light of his experience, expertise, and the results

  obtained in this case. Mr. Howe contends that Mr. Duff should not be compensated

  in excess of $350/hour for any work over the six-year course of this litigation



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  because $350 is the rate that Mr. Duff and Mr. Patterson agreed to in their fee

  agreement. The defendant points out that this court limited Mr. Duff to a $350

  hourly rate in an FDCPA case decided in 2019 based on this rationale and that the

  court should do the same here. The court finds that its decision in Lavallee v. Med-

  1 Solutions, LLC, 2019 WL 13217905 (S.D. Ind. Dec. 12, 2019), is not fully

  applicable in this case. In Lavallee, this court limited Mr. Duff's hourly rate to $350

  based on his fee agreement with Ms. Lavallee and stated that an adversary should

  not be required to pay more for Mr. Duff's legal services than the client had agreed

  to pay. The court stands by that holding. But a closer look at Mr. Duff's fee

  agreement with Mr. Patterson reveals important distinctions not litigated in

  Lavallee: Lavallee was an individual action. This case was brought as a class

  action, and Mr. Duff's "Class Action Attorney Fee Representation Agreement" with

  Mr. Patterson is a hybrid contingent fee agreement that provides for payment of the

  greater of $350 per hour or 40% of the recovery. Dkt. 164-1 ¶6. Thus, $350 is not

  the ceiling on the amount Mr. Patterson agreed to pay Mr. Duff. Moreover, the

  $350 hourly rate within Mr. Duff's fee agreement with Mr. Patterson was used to

  establish ex ante a quantum meruit rate in the event Mr. Duff was discharged. For

  these reasons, the court rejects the superficial application of Lavallee that Mr. Howe

  urges here.

        Mr. Duff has provided sufficient evidence that he has charged and been paid

  certain hourly rates over certain periods that this case has been litigated:

  $350/hour for work performed from 2012 through 2016, $395/hour for work



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  performed from 2017 through 2019, and $445/hour for work performed from 2020 to

  the present. Dkt. 157-1 ¶¶21-23. Mr. Duff requests that all his work, regardless of

  when it was done, be compensated at his current market rate as a reasonable

  approximation of the time value of money, and he relies on Seventh Circuit

  authority for this adjustment. The court agrees that awarding fees using a current

  hourly rate is often appropriate to compensate the attorney for lost purchasing

  power that makes $1 paid today worth less than had it been paid a year ago, or six

  years ago. But when the legal work for which compensation is due was performed

  over a very lengthy period, using current hourly rates "may produce a windfall."

  See Ohio-Sealy Mattress Mfg. Co. v. Sealy Inc., 776 F.2d 646, 663 (7th Cir. 1985)

  (court can compensate for delay in payment by computing interest or correcting for

  inflation by using current hourly rates, but "[w]hen a case lingers on for a long time

  . . . current hourly rates may produce a windfall for the plaintiff").

        The court will therefore apply this general principle that an award should

  account for the time value of money but will adjust Mr. Duff's current rate to reflect

  the rationale behind that principle. According to the government's Bureau of Labor

  Statistics, $350 in 2016, when adjusted using the Consumer Price Index, had the

  purchasing power of $438 in current dollars—a number very close to Mr. Duff's

  current rate. 1 Of course, Mr. Duff did not perform all or even most of his legal

  services in 2016, so the court will make an adjustment to reflect that the services




  1     https://www.bls.gov/data/inflation_calculator.htm
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  were performed over a long time span. The court finds that an appropriate hourly

  rate under all these circumstances is $415.

        B. Reasonable Amount of Time Expended

        A lawyer seeking to recover her fees is expected to use billing judgment and

  should seek compensation only for time that she reasonably would have billed to a

  paying client. Hensley, 461 U.S. at 434 (“Hours that are not properly billed to one’s

  client are not properly billed to one’s adversary pursuant to statutory authority.”)

  (emphasis in original).

        1. Compensation for Work on Class Certification Issues

        Mr. Howe's most consequential objection to Mr. Patterson's fee petition

  implicates one of the principles that guides the reasonableness inquiry: the award

  must account for limited success. As noted above, the claims on behalf of a class

  were ultimately not successful. Where a particular claim or theory is unsuccessful,

  the court may account for partial success either by eliminating specific hours

  attributable to the unsuccessful claims or theories or by making an across-the-board

  percentage deduction to the fees to account for limited success. See Bryant v. City of

  Chicago, 200 F.3d 1092, 1101-02 (7th Cir. 2000). The Seventh Circuit's decision this

  week in Koch v. Jerry W. Bailey Trucking, 2022 WL 10362574, *6-7 (7th Cir. Oct. 18,

  2022), confirms this principle.

        Mr. Patterson maintains that although the class claims in this case were

  ultimately unsuccessful, Mr. Duff's legal fees incurred in connection with class

  issues should be paid by Mr. Howe. He argues, with support from the affidavits of



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  two well-respected and accomplished attorneys, that the fact that the class obtained

  no relief was attributable to a change in the law and not to the parties, that nearly

  all the time spent on class issues was incurred when the law supported certification,

  and that much of it was incurred because of Mr. Howe's "unsuccessful resistance."

  Not compensating this time, he argues, would produce a windfall to Mr. Howe. He

  further notes that, upon the change in the applicable law, he responsibly agreed to

  decertification. The court mostly agrees with these observations, but Mr. Patterson

  has not offered any legal support for his position that these circumstances permit a

  departure from well-established law that limits fees to those incurred in prosecuting

  claims on which the plaintiff prevailed.

        The court has therefore eliminated those fees incurred in pursuing Mr.

  Patterson's claims on behalf of a class. Those include certification issues as well as

  the net worth discovery (which was pertinent only to the class claims). The court

  has not made any reductions for Mr. Duff's work on Mr. Howe's motion to

  reconsider class certification because the issues presented with that motion were

  inextricably intertwined with the issues presented in Mr. Howe's motion to

  reconsider the court's summary judgment order (time that is compensable), a fact

  demonstrated by Mr. Duff's time entries. The court has reviewed Mr. Duff's time

  records, and of the 236.6 hours for which Mr. Patterson seeks fees, the court will

  subtract 96.5 hours incurred litigating class issues.




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         2. Mr. Howe's Other Objections to the Reasonableness of Time Expended

         Mr. Howe makes an assortment of other objections to the time Mr. Duff billed

  in this case.

         First, he argues that the award should not include Mr. Duff's time spent

  researching the law of standing. This contention is nothing short of preposterous.

  Standing was not only a critical issue litigated in this case, but the law evolved

  significantly during its pendency. The court relies on counsel to follow important

  developments in the law applicable to their cases, and Mr. Duff's billings related to

  this issue are reasonable—even modest—and the court will award compensation for

  this time.

         Second, Mr. Howe asserts that Mr. Duff "should not be paid for a case he

  manufactured." Dkt. 164 at p. 4. This assertion is groundless and offensive and

  does not merit further discussion.

         Third, Mr. Howe complains about redactions in the billing statements Mr.

  Duff has provided with his motion for fees, "block billing," and certain tasks Mr.

  Howe contends are non-billable. The redactions are minimal and context supplies

  enough information to gauge the reasonableness of the time spent. The court

  further finds the time entries detailed and thorough. An attorney's records must be

  detailed enough for the opposing party and the court to make informed judgments

  about whether the time billed accurately reflects work spent on the case and

  whether it was reasonably spent, but the market does not expect issue-by-issue

  detail in billing, and neither should the court. See Fulmore v. Home Depot U.S.A.,



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  Inc., 2007 WL 1246226 at *3 (S.D. Ind. Apr. 27, 2007) (discussing block billing); In

  re Synthroid Marketing Litig., 264 F.3d 712, 722 (7th Cir. 2001) ("amount of

  itemization and detail required is a question for the market. If counsel submit bills

  with the level of detail that paying clients find satisfactory, a federal court should

  not require more.") Furthermore, billing statements are read in light of one's

  knowledge and recall of the docket, status, and progress of the case. Fulmore, 2007

  WL 1246226 at *3. As for non-billable administrative tasks, the court will reduce

  the award by three-tenths of an hour for tasks performed on March 6 and 10, 2017,

  that were administrative in nature. Aside from that and the work devoted to class

  issues, the court's careful review of Mr. Duff's time entries reveals no work that

  appears "excessive, redundant, or otherwise unnecessary" Hensley, 461 U.S. at 434,

  and thus not compensable.

        Fourth, Mr. Howe argues that the award Mr. Patterson seeks is

  disproportionate to the statutory damages of $1000 he was awarded. While gross

  disproportion can be the basis for reducing a fee award, the circumstances here do

  not warrant a reduction on this basis. First, that sort of disproportion is inherent in

  many consumer protection cases, and slashing fee awards on this basis alone would

  undermine the important role of attorneys in enforcement of these statutes.

  Second, the court has significantly reduced the award here to account for the lack of

  success in obtaining monetary relief for a class of plaintiffs. Third, Mr. Howe chose

  to defend this case vigorously at every juncture, as he was entitled to do, but he

  cannot then complain about the fees Mr. Patterson had to incur. Of particular note



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  in this regard is that after a liability decision in Mr. Patterson's favor and after

  decertification when the potential for liability to a class was no longer a risk, Mr.

  Howe continued to fight Mr. Patterson's individual recovery. Thousands in fees

  were incurred after decertification because of Mr. Howe's approach.

        Finally, the court must not allow Mr. Howe's inappropriate comments in his

  opposition brief to escape rebuke. Not only does Mr. Howe assert that Mr. Duff

  "manufactured" this case—when the court has found that Mr. Howe's practices

  violated the FDCPA—but he accuses Mr. Duff of, among other things, attempting to

  "fleece[]" this court (Dkt, 164 at p. 10), "unnecessary (and failed) complication and

  delayed resolution of Plaintiff's claim" (id. at p. 6), and "pervasive inflated billing

  techniques." (Id. at p. 10). These remarks are disrespectful and unwarranted, and

  they are indicative of an approach to the defense of this case that, in the court's

  view, increased the amount of attorney time the plaintiff was required to expend.

        C. Summary of Award

        The court makes an award of prevailing party attorney fees based on 139.8

  hours (236.6-96.8) at $415 per hour for a total fee award of $58,017.00. It also

  awards $458.32 in costs. Costs incurred to Erwin CPA Group related to net worth

  discovery are not awarded.

                                    Conclusion

        The court awards to plaintiff Mark Patterson and against defendant Howard

  Howe attorney fees in the amount of $58,017.00 and costs in the amount of $458.32.

  Judgment is entered separately.



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         So ORDERED.
                                          ____________________________________
         Date: 10/21/2022                    Debra McVicker Lynch
                                             United States Magistrate Judge
                                             Southern District of Indiana




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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION

  MARK A. PATTERSON,                             )
                                                 )
                            Plaintiff,           )
                                                 )
                       v.                        )   No. 1:16-cv-03364-DML-SEB
                                                 )
  HOWARD HOWE,                                   )
                                                 )
                            Defendant.           )

                                         Judgment

        The court, having entered its Order on Motion for Attorney Fee and Costs,

  HEREBY ENTERS JUDGMENT for plaintiff Mark A. Patterson and against

  defendant Howard Howe in the amount of $58,475.32, consisting of $58,017.00 for

  attorney fees and $458.32 for costs.

        So ORDERED.
         Date: 10/21/2022                ____________________________________
                                            Debra McVicker Lynch
                                            United States Magistrate Judge
                                            Southern District of Indiana




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              CIRCUIT RULE 30(d) CERTIFICATION


     I certify that all of the materials required by Circuit Rules 30(a) and

30(b) are respectively included in the Appendix bound with this brief and

the Separate Appendix of Appellant Howard Howe.

                                     s/Christopher C. Murray




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                      CERTIFICATE OF SERVICE


     I certify that on this 13th day of January, 2023, I caused this

APPELLANT’S CONSOLIDATED BRIEF to be filed electronically with

the Clerk of the Court using the CM/ECF System, thereby serving:

     Robert E. Duff     robert@robertdufflaw.com

                                     s/Christopher C. Murray




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                  CERTIFICATE OF COMPLIANCE

     Pursuant to FED. R. APP. P. 32(g), I certify that this Brief complies

with the type-volume limitation of Fed. R. App. P. 32(a)(7)(B) and Circuit

Rule 32(c) because this Brief contains 13,948 words, excluding the parts

of the brief excluded by Fed. R. App. P. 32(f).

     I further certify that this Brief complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type style requirements

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     Dated this 13th day of January, 2023.


                                     s/Christopher C. Murray




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